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                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                            SAN FERNANDO VALLEY DIVISION

       In re: ALLIED INDUSTRIES, INC.                        §      Case No. 1:13-bk-11948-MT
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              David Seror, chapter 7 trustee, submits this Final Account, Certification that the Estate has been Fully
      Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $4,901,708.66                           Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $95,288.56               Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:    $1,005,247.52




                3) Total gross receipts of $1,100,536.08 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $1,100,536.08 from the liquidation of the property of the
      estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS               CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                PAID


   SECURED CLAIMS (from
   Exhibit 3)                                  $2,323,524.37        $4,653,008.99        $1,591,781.33            $95,288.56
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00        $1,045,976.75        $1,045,976.75         $1,005,247.52


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00          $603,083.27          $603,083.27                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                               $20,195.52          $227,914.83          $151,039.83                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                            $5,113,644.81       $38,825,672.57       $15,215,655.84                 $0.00


   TOTAL DISBURSEMENTS                         $7,457,364.70       $45,355,656.41       $18,607,537.02         $1,100,536.08




              4) This case was originally filed under chapter 11 on 03/21/2013, and it was converted to chapter 7 on
      05/15/2014. The case was pending for 45 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        02/08/2018                        By: /s/ David Seror
                                                                            Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                 $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1              RECEIVED

 TURNOVER OF FUNDS IN VARIOUS DIP ACCOUNTS                                                      1290-010                 $53,659.71

 WF FINANCING - REFUND PERSONAL PROPERTY TAX                                                    1224-000                      $273.50

 INSURANCE POLICY #1002MT382437 - REFUND                                                        1229-000                      $580.00

 ACCOUNTS RECEIVABLES                                                                           1121-000                $653,463.34

 MACHINERY AND EQUIPMENT                                                                        1129-000                $242,500.00

 SETTLEMENT WITH JERRY STOYER/PIES                                                              1249-000                 $15,505.77

 INSURANCE SETTLEMENT WITH SCOTTSDALE INSURANCE                                                 1249-000                $117,296.83

 MISC. REFUNDS NOT ORIGINALLY SCHEDULED                                                         1290-000                  $4,497.88

 INSURANCE REFUND - DEDUCTIBLE REIMBURSEMENT                                                    1229-000                  $1,000.00

 MISC. INSURANCE PAYMENTS NOT ORIG. SCHEDULED                                                   1290-000                  $2,583.77

 OTHER ASSETS                                                                                   1129-000                  $9,000.00

 STATE OF CALIFORNIA TAX REFUND                                                                 1224-000                      $175.28

                             TOTAL GROSS RECEIPTS                                                                      $1,100,536.08

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM        $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE         PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                        UNIFORM        CLAIMS
   Claim                                                               CLAIMS          CLAIMS            CLAIMS
               CLAIMANT                  TRAN.       SCHEDULED
    NO.                                                               ASSERTED        ALLOWED             PAID
                                         CODE      (from Form 6D)


    18S        RDO EQUIPMENT CO         4110-000             $0.00       $9,340.81           $0.00           $0.00

     31        Coppell ISD              4110-000             $0.00       $1,086.17           $0.00           $0.00

    31 -2      Coppell ISD              4110-000             $0.00       $1,086.17           $0.00           $0.00

     32        Dallas County            4110-000             $0.00         $950.85           $0.00           $0.00

    32 -2      Dallas County            4110-000             $0.00         $950.85           $0.00           $0.00

     63        American Safety          4110-000             $0.00    $1,400,000.00          $0.00           $0.00
               Casualty Insurance
               Company
     68        California United Bank   4210-000      $1,474,490.18   $1,591,781.33   $1,591,781.33     $95,288.56

     71        American International   4110-000             $0.00      $82,993.00           $0.00           $0.00
               Group, Inc
    89S        CITY OF SAN DIEGO        4110-000             $0.00      $64,819.81           $0.00           $0.00

    144        American Safety          4110-000             $0.00    $1,500,000.00          $0.00           $0.00
               Casualty Insurance
               Company
    N/F        CALIFORNIA UNITED        4110-000       $103,965.10              NA              NA             NA
               BANK
    N/F        CALIFORNIA UNITED        4110-000        $20,401.57              NA              NA             NA
               BANK
    N/F        CHARTIS                  4110-000        $79,328.00              NA              NA             NA

    N/F        CIT                      4110-000           $288.21              NA              NA             NA

    N/F        ENTERPRISE               4110-000       $221,636.45              NA              NA             NA

    N/F        GREAT AMERICA            4110-000           $659.93              NA              NA             NA
               LEASING
    N/F        IPFS                     4110-000       $231,268.98              NA              NA             NA

    N/F        STAR CAPITAL             4110-000       $185,339.88              NA              NA             NA
               GROUP
    N/F        WELLS FARGO              4110-000         $1,571.29              NA              NA             NA

    N/F        WELLS FARGO              4110-000           $766.82              NA              NA             NA

    N/F        WELLS FARGO              4110-000         $1,571.29              NA              NA             NA

    N/F        WELLS FARGO              4110-000         $1,571.29              NA              NA             NA

    N/F        WELLS FARGO              4110-000           $665.38              NA              NA             NA

                 TOTAL SECURED                        $2,323,524.37   $4,653,008.99   $1,591,781.33     $95,288.56



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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM      CLAIMS         CLAIMS         CLAIMS          CLAIMS
   PAYEE                                TRAN.     SCHEDULED       ASSERTED       ALLOWED           PAID
                                        CODE

 Trustee, Fees - David Seror           2100-000            NA       $56,266.08    $56,266.08     $53,661.63

 Trustee, Expenses - David Seror       2200-000            NA         $378.52       $378.52           $361.00

 Attorney for Trustee Fees -           3110-000            NA      $607,612.40   $607,612.40    $579,487.17
 BRUTZKUS GUBNER LLP
 Attorney for Trustee, Expenses -      3120-000            NA       $21,740.08    $21,740.08     $20,733.77
 BRUTZKUS GUBNER LLP
 Charges, U.S. Bankruptcy Court        2700-000            NA        $6,308.00     $6,308.00      $6,016.01

 Fees, United States Trustee           2950-000            NA        $6,500.00     $6,500.00      $6,199.12

 Bond Payments - INTERNATIONAL         2300-000            NA         $752.34       $752.34           $752.34
 SURETIES LTD
 Costs to Secure/Maintain Property (   2420-000            NA        $4,725.00     $4,725.00      $4,725.00
 insurance, locks, etc.) - ESTET LLC
 Costs to Secure/Maintain Property (   2420-000            NA        $1,575.00     $1,575.00      $1,575.00
 insurance, locks, etc.) - ESTET,
 LLC
 Costs to Secure/Maintain Property (   2420-000            NA         $545.00       $545.00           $545.00
 insurance, locks, etc.) - FEDERAL
 MAILBOX CENTER
 Costs to Secure/Maintain Property (   2420-000            NA         $475.00       $475.00           $475.00
 insurance, locks, etc.) - KEVIN LA
 BRIE
 Costs to Secure/Maintain Property (   2420-000            NA         $150.00       $150.00           $150.00
 insurance, locks, etc.) - REGIS
 BOYLE JR.
 Costs to Secure/Maintain Property (   2420-000            NA        $7,462.08     $7,462.08      $7,462.08
 insurance, locks, etc.) - REGIS F.
 BOYLE JR.
 Costs to Secure/Maintain Property (   2420-000            NA          $81.62        $81.62            $81.62
 insurance, locks, etc.) -
 SOUTHERN CALIFORNIA EDISON
 Costs to Secure/Maintain Property (   2420-000            NA         $452.50       $452.50           $452.50
 insurance, locks, etc.) - UNITED
 RECORDS & MANAGEMENT
 Costs to Secure/Maintain Property (   2420-000            NA        $7,574.25     $7,574.25      $7,574.25
 insurance, locks, etc.) - UNITED
 RECORDS MANAGEMENT
 Costs to Secure/Maintain Property (   2420-000            NA        $4,720.00     $4,720.00      $4,720.00
 insurance, locks, etc.) - UNITED
 RECORDS MANAGEMENT INC.
 Costs to Secure/Maintain Property (   2420-000            NA       $18,352.00    $18,352.00     $18,352.00
 insurance, locks, etc.) - e-STET,
 LLP




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 Costs to Secure/Maintain Property (    2420-000            NA        $9,000.00       $9,000.00       $8,583.41
 insurance, locks, etc.) - (CLAIM NO.
 148) INDUSTRIAL PROPERTIES
 JV (ADMINISTRATIVE)
 Costs to Secure/Maintain Property (    2420-000            NA        $9,105.00       $9,105.00       $8,683.55
 insurance, locks, etc.) - (CLAIM NO.
 148-2) INDUSTRIAL PROPERTIES
 JV (ADMINISTRATIVE)
 Costs to Secure/Maintain Property (    2420-000            NA       $11,528.98      $11,528.98      $10,995.33
 insurance, locks, etc.) - (CLAIM NO.
 149) INDUSTRIAL PROPERTIES
 JV (ADMINISTRATIVE)
 Banking and Technology Service         2600-000            NA       $21,037.33      $21,037.33      $21,037.33
 Fee - Rabobank, N.A.
 Chapter 7 Operating Case               2690-000            NA          $270.00         $270.00           $270.00
 Expenses - FEDERAL MAILBOX
 CENTER
 Income Taxes - Internal Revenue        2810-000            NA        $5,378.66       $5,378.66       $5,378.66
 Service (post-petition) -
 DEPARTMENT OF THE
 TREASURY - IRS
 Other State or Local Taxes (post-      2820-000            NA        $3,086.00       $3,086.00       $2,943.15
 petition) - FRANCHISE TAX
 BOARD
 Other Chapter 7 Administrative         2990-000            NA        $2,500.00       $2,500.00       $2,500.00
 Expenses - ALAN NAHMIAS
 Accountant for Trustee Fees (Other     3410-000            NA      $145,895.00     $145,895.00     $139,141.80
 Firm) - GROBSTEIN TEEPLE
 Accountant for Trustee Expenses        3420-000            NA        $2,486.80       $2,486.80       $2,371.69
 (Other Firm) - GROBSTEIN
 TEEPLE
 Consultant for Trustee Fees -          3731-000            NA          $621.56         $621.56           $621.56
 CLAIM ALLY
 Consultant for Trustee Fees - JOHN     3731-000            NA        $1,242.50       $1,242.50       $1,242.50
 AMBROSE
 Consultant for Trustee Fees - JOHN     3731-000            NA       $88,155.05      $88,155.05      $88,155.05
 R. AMBROSE
 TOTAL CHAPTER 7 ADMIN. FEES
                                                            NA     $1,045,976.75   $1,045,976.75   $1,005,247.52
        AND CHARGES




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EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
                                                    CLAIMS         CLAIMS         CLAIMS         CLAIMS
   PAYEE                                TRAN.
                                                  SCHEDULED       ASSERTED       ALLOWED          PAID
                                        CODE

 Prior Chapter Other State or Local    6820-000            NA         $778.05       $778.05           $0.00
 Taxes - TENNESSEE DEPT
 REVENUE
 Prior Chapter Other Operating         6950-000            NA      $601,546.92   $601,546.92          $0.00
 Expenses - State Comp Ins Fund
 Prior Chapter Other State or Local    6820-000            NA         $758.30       $758.30           $0.00
 Taxes - State Board of Equilization
 (ADMINISTRATIVE)
 TOTAL PRIOR CHAPTER ADMIN.
                                                         $0.00     $603,083.27   $603,083.27          $0.00
     FEES AND CHARGES




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                        CLAIMS
                                       UNIFORM        CLAIMS
                                                                       ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.         CLAIMANT             TRAN.      SCHEDULED
                                                                    (from Proofs of    ALLOWED           PAID
                                        CODE      (from Form 6E)
                                                                         Claim)

    16P       CHRIS CERVANTES          5300-000             $0.00         $88,600.00    $11,725.00          $0.00


     39       Konica Minolta           5800-000             $0.00         $10,000.00    $10,000.00          $0.00


    55P       TENNESSEE DEPT           5800-000             $0.00          $1,752.14     $1,752.14          $0.00
              REVENUE

    55U       TENNESSEE DEPT           5800-000             $0.00            $125.00      $125.00           $0.00
              REVENUE

     56       Los Angeles County       5800-000             $0.00          $5,916.44     $5,916.44          $0.00
              Treasurer and Tax
              Collector

     76       JEFFREY                  5300-000               NA           $2,363.00     $2,363.00          $0.00
              CHRISTOPHER
              PIFER

    77P       CONSTRUCTION             5800-000        $20,195.52          $5,723.12     $5,723.12          $0.00
              LABORERS TRU

     95       Vladimir Ian Badong      5800-000             $0.00            $814.00      $814.00           $0.00


     96       Lori Pascarella          5300-000             $0.00          $3,230.77     $3,230.77          $0.00


    100P      Joseph Meade             5300-000             $0.00          $8,317.48     $8,317.48          $0.00


    102       Irving Gramajo Bolanos   5300-000             $0.00          $1,153.85     $1,153.85          $0.00



    104       Seth William Wilson      5300-000             $0.00         $11,603.48    $11,603.48          $0.00


    107       Jason A Campbell         5300-000             $0.00            $480.00      $480.00           $0.00


    110P      John C Adams             5300-000             $0.00         $11,725.00    $11,725.00          $0.00


    111       Francisco Miranda        5300-000             $0.00            $500.00      $500.00           $0.00


    112       Martin A Vasquez         5300-000             $0.00          $6,972.00     $6,972.00          $0.00


    113       Martin Vargas            5300-000             $0.00          $3,396.00     $3,396.00          $0.00
              Tecocuatzi

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    114       Claudio Alvarado     5300-000          $0.00      $7,000.00     $7,000.00          $0.00


    115       Jose Miranda         5300-000          $0.00      $2,200.00     $2,200.00          $0.00


    116       Apolinar Garcia      5300-000          $0.00      $1,560.00     $1,560.00          $0.00


    117P      Moses Cepeda         5300-000          $0.00      $7,200.00     $7,200.00          $0.00


    117U      Moses Cepeda         5300-000          $0.00        $50.00        $50.00           $0.00


    118       Juan Ramirez         5300-000          $0.00      $1,300.00     $1,300.00          $0.00


    119       Jesse Albor          5300-000          $0.00      $7,500.00     $7,500.00          $0.00


    121       STATE BOARD OF       5800-000            NA       $2,589.94     $2,589.94          $0.00
              EQUALIZATION

    122       JHONNY GONZALEZ      5300-000          $0.00      $1,950.00     $1,950.00          $0.00


    123       YVETTE V SNYDER      5300-000          $0.00      $1,879.10     $1,879.10          $0.00


    124P      Andrea Porras        5300-000          $0.00      $4,827.38     $4,827.38          $0.00


    124U      Andrea Porras        5300-000          $0.00        $99.98        $99.98           $0.00


    125       Juan Obeso           5300-000          $0.00      $2,640.00     $2,640.00          $0.00


    126       Jose L Martinez      5300-000          $0.00      $5,500.00     $5,500.00          $0.00


    127       Salvador Arias       5300-000          $0.00      $3,600.00     $3,600.00          $0.00


    129       RUBEN DELGODO        5300-000          $0.00      $8,500.00     $8,500.00          $0.00
              TORRES

    130       JOSE R LOPEZ         5300-000          $0.00      $5,500.00     $5,500.00          $0.00


    146       APRIL NICOLE         5300-000          $0.00      $1,346.15     $1,346.15          $0.00
              WEBER

            TOTAL PRIORITY
           UNSECURED CLAIMS                     $20,195.52    $227,914.83   $151,039.83          $0.00




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                      CLAIMS
                                     UNIFORM        CLAIMS
                                                                     ASSERTED         CLAIMS            CLAIMS
 CLAIM NO.          CLAIMANT          TRAN.      SCHEDULED
                                                                  (from Proofs of    ALLOWED             PAID
                                      CODE      (from Form 6F)
                                                                       Claim)

     1         Aerotek E&E           7100-000        $19,627.43         $21,955.39     $21,955.39           $0.00


     2         WELLS FARGO           7100-000             $0.00         $67,876.90     $67,876.90           $0.00
               FINANCIAL LEASING
               INC

     3         PLATTE RIVER          7100-000             $0.00              $0.00          $0.00           $0.00
               INSURANCE
               COMPANY

     4         KFORCE INC            7100-000         $7,650.00         $24,065.63     $24,065.63           $0.00


     5         Susquehanna           7100-000             $0.00        $161,217.15          $0.00           $0.00
               Commercial Finance,
               Inc.

    5 -2       Susquehanna           7100-000             $0.00        $161,217.15          $0.00           $0.00
               Commercial Finance,
               Inc.

     6         DEARBORN CRANE        7100-000        $24,450.28         $24,450.28     $24,450.28           $0.00
               ENGINEERING CO

     7         PROSEEK               7100-000         $2,550.00         $10,150.00     $10,150.00           $0.00
               CONSULTING

     8         State Comp Ins Fund   7100-000             $0.00      $7,008,824.43          $0.00           $0.00


    8 -2       State Comp Ins Fund   7100-000             $0.00      $7,008,824.43          $0.00           $0.00


    8 -3       State Comp Ins Fund   7100-000             $0.00      $7,008,824.43          $0.00           $0.00


    8 -4       State Comp Ins Fund   7100-000       $231,779.25      $7,008,824.43   $7,008,824.43          $0.00


     9         MBC                   7100-000         $4,500.63          $4,500.63      $4,500.63           $0.00
               REPROGRAPHICS

     10        TOYOTA MOTOR          7100-000             $0.00          $6,778.31          $0.00           $0.00
               CREDIT
               CORPORATION

    10 -2      TOYOTA MOTOR          7100-000           $632.54          $6,778.31          $0.00           $0.00
               CREDIT
               CORPORATION


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     11        JM ELECTRIC          7100-000     $12,782.33    $23,644.45     $23,644.45          $0.00


     12        CIT FINANCE LLC      7100-000          $0.00    $12,742.59          $0.00          $0.00


     13        SO CALIF EDISON CO   7100-000       $569.56        $856.84       $856.84           $0.00



     14        Internal Revenue     7100-000          $0.00     $1,170.00          $0.00          $0.00
               Service

    14 -2      Internal Revenue     7100-000          $0.00     $1,170.00          $0.00          $0.00
               Service

    14 -3      Internal Revenue     7100-000          $0.00     $1,170.00          $0.00          $0.00
               Service

    14 -4      Internal Revenue     7100-000          $0.00     $1,170.00          $0.00          $0.00
               Service

    14 -5      Internal Revenue     7100-000          $0.00     $1,170.00      $1,170.00          $0.00
               Service

     15        DEPT WATER           7100-000          $0.00     $1,116.48      $1,116.48          $0.00
               POWER

    16U        CHRIS CERVANTES      7100-000          $0.00    $88,600.00     $76,875.00          $0.00


     17        HARSCH               7100-000          $0.00     $8,161.46      $8,161.46          $0.00
               INVESTMENT PROPS
               LLC

    18S-2      RDO EQUIPMENT CO     7100-000          $0.00     $9,340.81      $9,340.81          $0.00


    18U        RDO EQUIPMENT CO     7100-000          $0.00     $7,379.80          $0.00          $0.00


   18U-2       RDO EQUIPMENT CO     7100-000     $15,209.73     $7,379.80      $7,379.80          $0.00


     19        GREATAMERICA FIN     7100-000     $15,659.25    $15,713.81          $0.00          $0.00
               SERVS CORP

    19 -2      GREATAMERICA FIN     7100-000     $16,319.38    $15,713.81     $15,713.81          $0.00
               SERVS CORP

     20        John Deere           7100-000      $3,936.54     $3,969.88          $0.00          $0.00
               Construction &
               Forestry Company

    20 -2      John Deere           7100-000     $60,849.42     $3,969.88      $3,969.88          $0.00
               Construction &
               Forestry Company

     21        UNITED RENTALS N     7100-000     $71,662.95    $65,202.38     $65,202.38          $0.00
               AMERICA INC

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     22      AMERICAN                 7100-000     $51,652.37     $47,316.26    $47,316.26          $0.00
             BUILDERS SUPPLY

     23      HUB                      7100-000      $2,359.80      $2,359.80     $2,359.80          $0.00
             CONSTRUCTION, INC

     24      AHERN RENTALS INC        7100-000      $8,664.57     $12,250.48    $12,250.48          $0.00


     25      MELINDA GUZMAN           7100-000          $0.00     $22,386.53    $22,386.53          $0.00
             PROFESSIONAL
             CORP

     26      SUNBELT RENTALS          7100-000     $57,430.63     $44,924.91    $44,924.91          $0.00
             INC

     27      S AND J PLASTERING       7100-000      $5,400.00      $5,400.00     $5,400.00          $0.00
             CORP

     28      JACKSON LEWIS LLP        7100-000          $0.00      $6,032.14     $6,032.14          $0.00


     29      ENVIRONMENTAL &          7100-000          $0.00      $6,700.00     $6,700.00          $0.00
             OCCUPATIONAL
             RISK MANAGEMENT
             INC

     30      TRS Staffing Solutions   7100-000          $0.00     $27,000.00    $27,000.00          $0.00


     33      SimplexGrinnell LP       7100-000     $15,117.86     $36,643.19    $36,643.19          $0.00


     34      PITNEY BOWES             7100-000      $1,240.18      $1,422.90         $0.00          $0.00
             GLOBAL

     35      CWWA TUKWILA 1           7100-000          $0.00     $27,053.18    $27,053.18          $0.00
             LLC

     36      NEXT VENTURE INC         7100-000          $0.00     $27,435.33    $27,435.33          $0.00


     37      Claims Recovery          7100-000          $0.00     $21,430.77    $21,430.77          $0.00
             Group LLC

     38      KIRK PAVING, INC         7100-000      $3,786.69      $3,736.69     $3,736.69          $0.00


     40      Claims Recovery          7100-000          $0.00    $120,046.28   $120,046.28          $0.00
             Group LLC

     41      CLAIMS RECOVERY          7100-000          $0.00     $53,473.78    $53,473.78          $0.00
             GRP LLC

     42      VAKS                     7100-000          $0.00    $234,826.00   $234,826.00          $0.00
             CONSTRUCTION CO

     43      KSGL, Inc.               7100-000          $0.00     $21,040.20    $21,040.20          $0.00



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    44P        CDW                      7100-000           $0.00      $279.72       $279.72           $0.00


    44U        CDW                      7100-000       $5,365.29     $3,797.01     $3,797.01          $0.00


     45        PW Construction Inc      7100-000           $0.00    $38,344.37    $38,344.37          $0.00


     46        KSGL, Inc.               7100-000           $0.00    $21,040.20         $0.00          $0.00


     47        DELTA LATH &             7100-000      $51,263.00    $51,206.00    $51,206.00          $0.00
               PLASTER INC

     48        Effective Environment    7100-000      $24,288.68    $24,288.68    $24,288.68          $0.00
               Inc., etc.

     49        BARROWS                  7100-000     $236,927.83   $236,927.83   $236,927.83          $0.00
               LANDSCAPING INC

     50        ABATIX CORP              7100-000      $53,304.52    $47,272.55    $47,272.55          $0.00


     51        ABATIX CORP              7100-000           $0.00     $2,477.28     $2,477.28          $0.00


     52        L.A. ARENA               7100-000           $0.00    $37,961.85         $0.00          $0.00
               FUNDING, LLC

    52 -2      L.A. ARENA               7100-000           $0.00    $37,961.85    $37,961.85          $0.00
               FUNDING, LLC

     53        SHERWIN WILLIAMS         7100-000           $0.00    $13,230.28    $13,230.28          $0.00


     57        Waste Management         7100-000      $18,603.22    $22,226.84    $22,226.84          $0.00
               c/o Jacquolyn Mills

     58        ACCUTEST                 7100-000       $1,275.00     $1,275.00     $1,275.00          $0.00
               NORTHERN CALIF
               INC

     59        ACCUTEST                 7100-000           $0.00      $601.00       $601.00           $0.00
               NORTHERN CALIF
               INC

     60        HOMER MANN               7100-000       $3,424.04     $3,835.17     $3,835.17          $0.00
               TRUCKING

     61        INLINE                   7100-000     $465,835.34   $519,659.76   $519,659.76          $0.00
               DISTRIBUTING CO

     62        International Fidelity   7100-000           $0.00   $598,021.96         $0.00          $0.00
               Insurance Company

    62 -2      International Fidelity   7100-000           $0.00   $598,021.96         $0.00          $0.00
               Insurance Company



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    62 -3      International Fidelity   7100-000           $0.00    $598,021.96     $598,021.96           $0.00
               Insurance Company

     64        MIRAMAR BOBCAT           7100-000       $9,986.44     $15,054.12      $15,054.12           $0.00
               INC

     65        Scottsdale Insurance     7100-000           $0.00     $44,491.55      $44,491.55           $0.00
               Company

     66        BERKLEY REGIONAL         7100-000           $0.00   $2,218,718.00   $2,218,718.00          $0.00
               INSURANCE
               COMPANY

     67        VALLEYCREST              7100-000           $0.00     $36,712.00      $36,712.00           $0.00
               LANDSCAPE
               MAITENANCE INC

     69        Valencia Western         7100-000      $42,430.31    $224,067.97           $0.00           $0.00
               Electric

    69 -2      Valencia Western         7100-000      $58,934.59    $224,067.97     $224,067.97           $0.00
               Electric

     70        S&W                      7100-000           $0.00    $118,000.00     $118,000.00           $0.00


     72        ORION                    7100-000     $173,632.49    $375,000.00     $375,000.00           $0.00
               CONSTRUCTION
               CORP

     73        LEVEL 3                  7100-000           $0.00     $15,531.68      $15,531.68           $0.00
               COMMUNICATIONS
               LLC

     74        BUTTACAVOLI              7100-000      $73,732.75     $73,793.85      $73,793.85           $0.00
               INDUTRIES INC

     75        NAPWC                    7100-000      $29,084.94    $181,025.48     $181,025.48           $0.00
               SUPPLEMENTAL
               UNEMPLOYMENT

    77U        CONSTRUCTION             7100-000           $0.00      $3,356.08       $3,356.08           $0.00
               LABORERS TRU

    78U        Claims Recovery          7100-000           $0.00        $938.49         $938.49           $0.00
               Group LLC

    78U        Claims Recovery          7100-000           $0.00     $36,322.48      $36,322.48           $0.00
               Group LLC

     79        CLAIMS RECOVERY          7100-000           $0.00      $3,075.00       $3,075.00           $0.00
               GRP LLC

     80        CLAIMS RECOVERY          7100-000           $0.00      $9,960.00       $9,960.00           $0.00
               GRP LLC




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     81      JLP CONSTRUCTION      7100-000      $33,282.45    $33,282.45    $33,282.45          $0.00
             MNGMNT

     82      HEAVY EQUIPMENT       7100-000           $0.00    $15,099.16    $15,099.16          $0.00
             RENTALS

     83      DELLA MORA            7100-000       $5,847.50     $7,319.63     $7,319.63          $0.00
             HEATING ETC

     84      Aramsco Inc           7100-000     $185,075.52   $228,381.13   $228,381.13          $0.00


     85      INNOVATE              7100-000     $508,897.00   $569,119.69   $569,119.69          $0.00
             TECHNICAL
             SOLUTIONS

     86      State Farm Gen.       7100-000       $6,982.23     $6,982.23     $6,982.23          $0.00
             Insurance Company

     87      SUNSTATE              7100-000      $13,846.49    $15,475.57    $15,475.57          $0.00
             EQUIPMENT CO LLC

     88      PITNEY BOWES          7100-000           $0.00     $4,299.86     $4,299.86          $0.00
             GLOBAL

    89S-2    CITY OF SAN DIEGO     7100-000           $0.00    $64,819.81    $64,819.81          $0.00


    89U      CITY OF SAN DIEGO     7100-000           $0.00    $56,643.51         $0.00          $0.00


   89U-2     CITY OF SAN DIEGO     7100-000           $0.00    $56,643.51    $56,643.51          $0.00


     90      State Farm General    7100-000           $0.00   $141,589.49   $141,589.49          $0.00
             Insurance Company

     91      CAROLILNE RIVERS;     7100-000           $0.00    $23,179.50    $23,179.50          $0.00
             ERNESTINE
             BOUSQUET

     92      Allied Master Beach   7100-000           $0.00         $0.00         $0.00          $0.00
             Cities

     93      THOMPSON CONST        7100-000           $0.00     $5,479.92     $5,479.92          $0.00
             SUPPLY DOOR &
             FRAME

     94      KEVIN ALEXANDER       7100-000           $0.00     $6,153.84     $6,153.84          $0.00
             LABRIE

     97      DELTA LATH &          7100-000           $0.00    $51,206.00         $0.00          $0.00
             PLASTER INC

     98      HEAVY EQUIPMENT       7100-000      $90,776.45    $15,099.16         $0.00          $0.00
             RENTALS




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     99       MCNUTT                  7100-000      $1,044.00      $1,044.00     $1,044.00          $0.00
              AUTOMOTIVE
              LOGISTics LLC

    100U      Joseph Meade            7100-000          $0.00       $769.23       $769.23           $0.00


    101       HIC Kearny Mesa LLC     7100-000       $855.00       $6,331.81     $6,331.81          $0.00


    103       OC Vacuum               7100-000     $12,257.90     $12,257.90    $12,257.90          $0.00
              Incorporated

    105       Arakelian Enterprises   7100-000          $0.00     $25,750.43    $25,750.43          $0.00
              Inc DBA Athens
              Services

    106       GREAT AMERICA           7100-000          $0.00          $0.00         $0.00          $0.00
              LEASING COR

    108       CHRISTINA RIVERA        7100-000          $0.00      $2,336.04     $2,336.04          $0.00


    109       JLP CONSTRUCTION        7100-000          $0.00     $33,282.45         $0.00          $0.00
              MNGMNT

    110U      John C Adams            7100-000          $0.00     $24,528.65    $24,528.65          $0.00


    120       KIRK PAVING, INC        7100-000      $5,500.00      $3,736.69         $0.00          $0.00


    121       STATE BOARD OF          7100-000            NA        $464.68       $464.68           $0.00
              EQUALIZATION

    128       L.A. ARENA              7100-000          $0.00     $37,961.85         $0.00          $0.00
              FUNDING, LLC

    131       PROFESSIONAL            7100-000      $5,215.80      $7,077.30     $7,077.30          $0.00
              SERVICE
              INDUSTRIES

    132       John Ambrose            7100-000          $0.00    $350,000.00   $350,000.00          $0.00


    133       Gina O'Malley           7100-000          $0.00    $350,000.00   $350,000.00          $0.00


    134       PW Construction Inc     7100-000          $0.00    $425,334.35         $0.00          $0.00


    135       FIRST Insurance         7100-000          $0.00      $1,997.59         $0.00          $0.00
              Funding Corp

    136       WOLKIN CURRAN,          7100-000      $2,414.60      $3,064.76     $3,064.76          $0.00
              LLP.

    137       PUGET SOUND             7100-000       $753.32        $783.48       $783.48           $0.00
              ENERGY



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    138      Claims Recovery          7100-000          $0.00      $3,600.00     $3,600.00          $0.00
             Group LLC Assignee

    139      American International   7100-000          $0.00     $85,543.00         $0.00          $0.00
             Group, Inc.

    140      Claims Recovers          7100-000          $0.00      $1,455.00     $1,455.00          $0.00
             Group LLC Assignee

    141      David King and Norma     7100-000          $0.00    $150,000.00   $150,000.00          $0.00
             Tomal

    145      GREATAMERICA FIN         7200-000          $0.00     $34,390.06    $34,390.06          $0.00
             SERVS CORP

    147      INDUSTRIAL               7400-000     $10,900.00      $9,000.00     $9,000.00          $0.00
             PROPERTIES JV

    150      FRANCHISE TAX            7200-000          $0.00          $0.00         $0.00          $0.00
             BOARD
             (ADMINISTRATIVE)

   150 -2    FRANCHISE TAX            7200-000          $0.00          $0.00         $0.00          $0.00
             BOARD
             (ADMINISTRATIVE)

    150-3    FRANCHISE TAX            7300-000            NA       $2,215.00     $2,215.00          $0.00
             BOARD

    N/F      A&G FIRE                 7100-000       $467.94             NA            NA             NA
             EXTINGUISHER

    N/F      AABERGS TOOL             7100-000      $1,215.93            NA            NA             NA
             RENTAL

    N/F      ADAM                     7100-000      $3,085.00            NA            NA             NA
             LABORATORIES, INC

    N/F      AEROTEK                  7100-000      $7,915.60            NA            NA             NA
             ENVIRONMENTAL
             INC

    N/F      AIRGAS - NOR PAC,        7100-000        $35.26             NA            NA             NA
             INC.

    N/F      AIRGAS-WEST INC          7100-000      $4,354.73            NA            NA             NA


    N/F      AITAL CUSTOM             7100-000      $3,000.00            NA            NA             NA
             GLASS & MIRR

    N/F      ALL CAL SERVICES,        7100-000       $829.57             NA            NA             NA
             LLC

    N/F      ALL COVERED              7100-000      $2,500.00            NA            NA             NA



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    N/F      ALLIED WASTE              7100-000     $53,110.05          NA            NA            NA
             SERVICES

    N/F      ALPINE                    7100-000       $525.00           NA            NA            NA
             ENVIRONMENTAL
             CONS

    N/F      ALS LAND                  7100-000     $19,800.00          NA            NA            NA
             CLEARING, INC

    N/F      AMERICAN ENV              7100-000      $9,960.00          NA            NA            NA
             CONSTRUCTION

    N/F      AMERICAN                  7100-000      $6,862.50          NA            NA            NA
             ENVIRONMENTAL GP

    N/F      AMERICAN                  7100-000       $250.00           NA            NA            NA
             PLUMBING & BACKF

    N/F      AMERICAN RENTALS          7100-000       $195.10           NA            NA            NA
             INC

    N/F      AMERIGAS-                 7100-000        $47.89           NA            NA            NA
             BLOOMINGTON 1120

    N/F      ANAHEIM DISPOSAL          7100-000      $1,956.27          NA            NA            NA


    N/F      ANGEL'S                   7100-000      $2,500.00          NA            NA            NA
             SANDBLASTING

    N/F      API WASTE                 7100-000      $2,302.75          NA            NA            NA
             MANAGEMENT

    N/F      APTUS COURT               7100-000       $139.64           NA            NA            NA
             REPORTING

    N/F      ARROW SERVICES,           7100-000     $32,237.65          NA            NA            NA
             INC.

    N/F      ASSOCIATED READY          7100-000     $10,606.23          NA            NA            NA
             MIX CONC

    N/F      ATHENS SERVICES           7100-000     $12,352.63          NA            NA            NA


    N/F      ATLAS DISPOSAL            7100-000      $2,044.78          NA            NA            NA
             INDUSTRIES

    N/F      ATMOS ENERGY              7100-000       $184.64           NA            NA            NA


    N/F      All Covered, a division   7100-000     $10,000.00          NA            NA            NA
             of Konica M c/o Alan L.
             Brodkin

    N/F      All Tex, Inc              7100-000            NA           NA            NA            NA


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    N/F      B&B WASTE             7100-000      $25,921.33         NA            NA            NA
             TRANSIT, INC

    N/F      B-PLUMBING            7100-000       $7,090.00         NA            NA            NA


    N/F      BAJA EXPLORATION      7100-000       $2,900.00         NA            NA            NA


    N/F      BOSCO                 7100-000     $103,838.24         NA            NA            NA


    N/F      BOX-RENT, INC.        7100-000        $252.80          NA            NA            NA


    N/F      BRADLEY ACCESS        7100-000        $210.00          NA            NA            NA
             SYSTEM

    N/F      BRIGHT HOUSE          7100-000        $227.40          NA            NA            NA
             NETWORK

    N/F      BROCK RENTALS,        7100-000       $5,595.06         NA            NA            NA
             INC

    N/F      BURNS & SUNS          7100-000      $20,620.68         NA            NA            NA
             TRUCKING, IN

    N/F      BURRTEC WASTE         7100-000        $383.05          NA            NA            NA
             INDUSTRIES

    N/F      C BELOW               7100-000       $1,455.00         NA            NA            NA
             SUBSURFACE
             IMAGIN

    N/F      CAI GREATER           7100-000         $90.00          NA            NA            NA
             INLAND EMPIRE

    N/F      CALIBER PAVING        7100-000       $3,900.00         NA            NA            NA
             COMPANY

    N/F      CALIFORNIA ENV CO.    7100-000       $5,355.25         NA            NA            NA


    N/F      CAREONSITE            7100-000       $1,626.79         NA            NA            NA


    N/F      CELESTIAL HEATING     7100-000      $12,110.00         NA            NA            NA
             N AIR

    N/F      CERTIFIED AIR         7100-000      $95,121.66         NA            NA            NA
             CONDITIONING

    N/F      CITY OF BEVERLY       7100-000        $832.70          NA            NA            NA
             HILLS

    N/F      CITY OF OCEANSIDE     7100-000        $116.00          NA            NA            NA




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    N/F      CLEAN HARBORS         7100-000      $2,441.68          NA            NA            NA
             ENVIRONMENT

    N/F      COASTAL ROLLOFF       7100-000      $2,016.27          NA            NA            NA


    N/F      COMDATA               7100-000     $10,454.10          NA            NA            NA


    N/F      COMMERCIAL            7100-000     $59,099.42          NA            NA            NA
             SCAFFOLD INC

    N/F      COMPLIANCE            7100-000     $18,310.00          NA            NA            NA
             SYSTEMS MANAGE

    N/F      CONCRETE CORING       7100-000      $2,092.50          NA            NA            NA
             COMPANY

    N/F      CONSOLIDATED          7100-000     $10,552.21          NA            NA            NA
             OVERHEAD DOO

    N/F      COOPER ELECTRIC       7100-000     $20,173.20          NA            NA            NA


    N/F      CORNISH ASBESTOS      7100-000       $950.00           NA            NA            NA
             CONSULTI

    N/F      COUNTY OF SAN         7100-000       $431.00           NA            NA            NA
             DIEGO

    N/F      COUNTY                7100-000      $6,219.35          NA            NA            NA
             SANITATION DISTRIC
             ATT: ACCOUNTING

    N/F      CROWN DISPOSAL        7100-000     $15,760.31          NA            NA            NA
             GENERAL

    N/F      D&D CUSTOM            7100-000     $16,586.00          NA            NA            NA
             CABINETS INC

    N/F      DAILY DISPOSAL        7100-000      $5,656.30          NA            NA            NA


    N/F      DELL BUSINESS         7100-000       $120.88           NA            NA            NA
             CREDIT PAYMENT
             PROCESSING
             CENTER

    N/F      DELL FINANCIAL        7100-000       $613.21           NA            NA            NA
             SERVICES PAYMENT
             PROCESSING
             CENTER

    N/F      DELTEK INC            7100-000      $5,830.00          NA            NA            NA


    N/F      DELUXE BUSINESS       7100-000       $310.63           NA            NA            NA
             CHECKS SO


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    N/F      DEPENDABLE            7100-000      $6,300.81          NA            NA            NA
             DISPOSAL & REC

    N/F      DHK SOLUTIONS,        7100-000      $3,630.00          NA            NA            NA
             INC.

    N/F      DIAMOND               7100-000       $103.07           NA            NA            NA
             ENVIRONMENTAL
             SER

    N/F      DIAMOND               7100-000     $21,027.93          NA            NA            NA
             PRODUCTS

    N/F      DIRECT ENERGY         7100-000       $925.19           NA            NA            NA
             BUSINESS

    N/F      DIRECTV               7100-000       $445.56           NA            NA            NA


    N/F      DOBSON&GORES          7100-000      $1,182.50          NA            NA            NA
             WELDING INC

    N/F      DONGELL               7100-000     $34,827.48          NA            NA            NA
             LAWRENCE FINNEY

    N/F      Daily Disposal        7100-000      $4,200.00          NA            NA            NA
             Services, Inc.

    N/F      ECO-PAN INC           7100-000       $663.38           NA            NA            NA


    N/F      ECOLOGICS             7100-000      $1,130.00          NA            NA            NA
             ENVIRONMENTAL S

    N/F      EDCO Waste &          7100-000     $24,031.16          NA            NA            NA
             Recycling Services

    N/F      EFFECTIVE             7100-000      $1,035.38          NA            NA            NA
             ENVIRONMENTAL

    N/F      EJ HARRISON &         7100-000       $699.68           NA            NA            NA
             SONS INC

    N/F      ELEGANT SURFACES      7100-000     $41,747.80          NA            NA            NA


    N/F      EMPLOYES CHOICE       7100-000        $25.00           NA            NA            NA
             ONLINE

    N/F      ENVIRONMENTAL         7100-000     $19,937.98          NA            NA            NA
             LOGISTICS,

    N/F      ENVIRONMENTAL         7100-000     $43,514.96          NA            NA            NA
             RECOVERY SE

    N/F      EORM, INC             7100-000      $6,700.00          NA            NA            NA



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    N/F      FENCE FACTORY         7100-000       $2,728.80         NA            NA            NA
             RENTALS INC

    N/F      FENCECORP, INC        7100-000     $637,780.00         NA            NA            NA


    N/F      GRAND TIRE INC        7100-000        $451.89          NA            NA            NA


    N/F      Georgia Roberson      7100-000      $24,900.00         NA            NA            NA


    N/F      HAUL AWAY             7100-000        $285.55          NA            NA            NA
             STORAGE CONTAIN

    N/F      HERTZ EQUIPMENT       7100-000       $1,088.74         NA            NA            NA
             RENTAL

    N/F      HIGH CYCLE            7100-000      $21,725.50         NA            NA            NA
             CONCRETE CUTTI

    N/F      HILTI                 7100-000      $12,871.86         NA            NA            NA


    N/F      HIP, SACRAMENTO       7100-000      $29,383.90         NA            NA            NA


    N/F      HOME DEPOT 8503       7100-000      $65,611.87         NA            NA            NA


    N/F      HOSE- MAN, INC.       7100-000       $2,734.56         NA            NA            NA


    N/F      IMPACT                7100-000       $9,436.09         NA            NA            NA
             CONSTRUCTION
             SERVI

    N/F      INFOTRAC              7100-000        $450.00          NA            NA            NA


    N/F      INTERSTATE CON        7100-000      $72,306.55         NA            NA            NA
             CUTTING

    N/F      IPFS                  7100-000        $883.46          NA            NA            NA


    N/F      IRONMAN               7100-000        $201.00          NA            NA            NA
             CONCRETE
             PUMPING

    N/F      J J KELLER            7100-000        $249.11          NA            NA            NA


    N/F      JAM FIRE              7100-000        $487.03          NA            NA            NA
             PROTECTION, INC.

    N/F      JLS CONCRETE          7100-000       $1,384.62         NA            NA            NA
             PUMPING

    N/F      JONES LUMBER CO.,     7100-000       $1,742.56         NA            NA            NA
             INC.

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    N/F      JP FRANCIS &          7100-000     $19,699.14          NA            NA            NA
             ASSOC. INC

    N/F      KISSINGER             7100-000      $1,913.50          NA            NA            NA
             TRUCKING AND EQ

    N/F      LANDS END             7100-000      $1,129.06          NA            NA            NA
             BUSINESS OUTFIT

    N/F      LUDWIG E. KUEST       7100-000      $4,875.00          NA            NA            NA
             PAINTING

    N/F      Long Tran             7100-000      $4,000.00          NA            NA            NA


    N/F      MAGNUM SAWING &       7100-000      $1,694.00          NA            NA            NA
             CORING IN

    N/F      MARCO TRANSPORT       7100-000      $1,207.50          NA            NA            NA
             INC.

    N/F      MASTER PLUMBING       7100-000       $375.00           NA            NA            NA


    N/F      MATHES, ROGER         7100-000       $625.00           NA            NA            NA


    N/F      MB MCGOWAN &          7100-000     $41,795.00          NA            NA            NA
             ASSOCIATE

    N/F      METRO                 7100-000          $7.25          NA            NA            NA
             EXPRESSLANES

    N/F      MISSION CARPET        7100-000       $953.59           NA            NA            NA
             DISTRIBUTO

    N/F      MOBILE MODULAR        7100-000       $196.67           NA            NA            NA
             MANAGEMENT

    N/F      MONAHAN, JAMES        7100-000        $90.00           NA            NA            NA


    N/F      Melcho Molina         7100-000            NA           NA            NA            NA


    N/F      NATIONAL              7100-000       $422.25           NA            NA            NA
             CONSTRUCTION REN

    N/F      NATIONAL READY        7100-000     $30,501.43          NA            NA            NA
             MIX

    N/F      NORTH AMERICAN        7100-000      $5,336.00          NA            NA            NA
             CRANE

    N/F      NORTH COAST           7100-000      $7,015.00          NA            NA            NA
             RESOURCE MGMT




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    N/F      NORTH STATE           7100-000      $5,033.28          NA            NA            NA
             ENVIRONMENTAL

    N/F      OASES ELECTRIC,       7100-000      $1,444.17          NA            NA            NA
             INC

    N/F      OES INC               7100-000       $483.00           NA            NA            NA


    N/F      ORCO BLOCK CO.        7100-000      $7,167.15          NA            NA            NA


    N/F      OTAY LANDFILL, INC.   7100-000      $2,547.70          NA            NA            NA


    N/F      OTAY MESA SALES,      7100-000      $8,777.61          NA            NA            NA
             INC

    N/F      OVERHEAD DOOR         7100-000      $3,295.70          NA            NA            NA
             COMPANY SAL

    N/F      PACIFIC GRADING &     7100-000       $534.75           NA            NA            NA
             EROSION

    N/F      PACIFIC               7100-000       $510.00           NA            NA            NA
             REGISTERED
             AGENTS

    N/F      PAMAXAN               7100-000      $1,472.02          NA            NA            NA


    N/F      PAULEY EQUIPMENT      7100-000       $325.16           NA            NA            NA


    N/F      PAVEX                 7100-000      $1,268.90          NA            NA            NA
             CONSTRUCTION
             DIVISI

    N/F      PIFER JEFF            7100-000       $350.00           NA            NA            NA


    N/F      PODS ENTERPRISES,     7100-000       $620.89           NA            NA            NA
             INC

    N/F      POWER BREAKING &      7100-000     $14,737.56          NA            NA            NA
             DEMOLITI

    N/F      PRECON PRODUCTS       7100-000      $5,681.00          NA            NA            NA


    N/F      PROFESSIONAL          7100-000     $12,789.40          NA            NA            NA
             CONTRACTOR S

    N/F      PROTECTION ONE        7100-000        $43.89           NA            NA            NA


    N/F      PURCHASE POWER        7100-000      $5,383.54          NA            NA            NA




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    N/F      R.F. MAC DONALD         7100-000     $11,731.00          NA            NA            NA
             CO

    N/F      RED-D-ARC, INC          7100-000      $5,195.33          NA            NA            NA


    N/F      REED MCCLURE            7100-000      $8,116.70          NA            NA            NA
             ATTORNEYS

    N/F      REGIONAL DISPOSAL       7100-000      $4,705.28          NA            NA            NA
             COMPANY

    N/F      RMS TRUCKING            7100-000      $2,185.00          NA            NA            NA


    N/F      ROBERT L REEVES         7100-000      $1,523.25          NA            NA            NA
             CONST CO

    N/F      ROBERTSON'S ROCK        7100-000      $5,830.00          NA            NA            NA
             SAND BAS

    N/F      ROLF JENSEN &           7100-000      $7,400.00          NA            NA            NA
             ASSOC

    N/F      ROSS ROOFING &          7100-000     $10,277.40          NA            NA            NA
             CONSTRUCTI

    N/F      RUSH MECHANICAL         7100-000     $20,219.00          NA            NA            NA


    N/F      Riverbend DFW           7100-000     $33,646.69          NA            NA            NA
             Industrial, LP. c/o
             Smith and Davis, PLLC

    N/F      Roger Mathes            7100-000       $375.00           NA            NA            NA


    N/F      S&R SERVICES INC.       7100-000      $2,550.00          NA            NA            NA


    N/F      S&W                     7100-000            NA           NA            NA            NA


    N/F      SACRAMENTO              7100-000        $71.42           NA            NA            NA
             MUNICIPAL UD

    N/F      SAFETY NET              7100-000       $311.03           NA            NA            NA
             TECHNOLOGY SOL

    N/F      SAFWAY SERVICES,        7100-000       $950.24           NA            NA            NA
             LP.

    N/F      SAN BENITO              7100-000      $2,584.50          NA            NA            NA
             DRYWALL INC

    N/F      SEATLE ASBESTOS         7100-000      $2,607.00          NA            NA            NA
             TEST




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    N/F      SEIB                   7100-000       $500.00           NA            NA            NA
             CONSTRUCTION

    N/F      SERVICEMASTER          7100-000     $97,948.01          NA            NA            NA
             ANYTIME

    N/F      SIERRA GROUP           7100-000     $28,665.33          NA            NA            NA


    N/F      SOL'S AUTO SUPPLY      7100-000      $1,591.95          NA            NA            NA


    N/F      SOLANO GARBAGE         7100-000       $991.85           NA            NA            NA
             COMPANY

    N/F      SPRINT 371284529       7100-000      $6,685.47          NA            NA            NA


    N/F      STAKE BED TRUCK        7100-000       $174.04           NA            NA            NA
             RENTAL

    N/F      STORAGE                7100-000       $247.50           NA            NA            NA
             CONTAINER

    N/F      San Benito Drywall &   7100-000     $25,845.00          NA            NA            NA
             Long Tran

    N/F      Simplex Grinnell, LP   7100-000     $23,189.93          NA            NA            NA
             c/o McGuinness &
             Associates

    N/F      TA MARANDA             7100-000      $3,600.00          NA            NA            NA
             CONSULTANTS IN

    N/F      THE CRANE GUYS         7100-000      $1,895.00          NA            NA            NA


    N/F      THE HOSE PROS          7100-000        $88.52           NA            NA            NA


    N/F      TIME WARNER            7100-000       $596.67           NA            NA            NA
             CABLE

    N/F      TRANSPAC               7100-000     $23,407.00          NA            NA            NA
             MARINAS, INC.

    N/F      Tomas Reyes Trucking   7100-000     $24,165.00          NA            NA            NA
             Inc.

    N/F      ULINE, INC             7100-000       $515.95           NA            NA            NA


    N/F      UNITED SITE            7100-000      $8,386.43          NA            NA            NA
             SERVICES

    N/F      URS CORPORATION        7100-000     $13,334.79          NA            NA            NA


    N/F      W.C. MALONEY, INC      7100-000       $735.00           NA            NA            NA


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    N/F      WAXIE'S               7100-000        $695.30               NA               NA             NA
             ENTERPRISES, INC

    N/F      WELLS FARGO           7100-000      $4,173.88               NA               NA             NA
             FINANCIAL

    N/F      WELLS FARGO           7100-000        $665.38               NA               NA             NA
             LEASE 8059201

    N/F      WELLS FARGO           7100-000        $766.82               NA               NA             NA
             LEASE 95371-1

    N/F      WORLD                 7100-000      $1,200.00               NA               NA             NA
             ENVIRONMENTAL &
             ENE WORLD
             ENVIRONMENTAL &
             ENERGY

    N/F      WRIGHT EXPRESS        7100-000         $94.30               NA               NA             NA
             6494280 FLEET
             SERVICES

    N/F      Waste Management      7100-000     $10,764.50               NA               NA             NA
             c/o Louis Jacobs

            TOTAL GENERAL
           UNSECURED CLAIMS                   $5,113,644.81   $38,825,672.57   $15,215,655.84          $0.00




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                                       Individual Estate Property Record and Report                                                                  Page: 1

                                                        Asset Cases
Case No.:    1:13-bk-11948-MT                                                             Trustee Name:      (008930) David Seror
Case Name:        ALLIED INDUSTRIES, INC.                                                 Date Filed (f) or Converted (c): 05/15/2014 (c)
                                                                                          § 341(a) Meeting Date:       06/16/2014
For Period Ending:       02/08/2018                                                       Claims Bar Date:      09/15/2014

                                   1                              2                      3                      4                    5                    6

                           Asset Description                   Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)     Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                               Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                          and Other Costs)

    1       CASH                                                88,225.66                    88,225.66                                     0.00                        FA

    2       INVESTMENT IN A JOINT VENTURE                       41,671.00                    41,671.00                                     0.00                        FA

    3       ACCOUNTS RECEIVABLES                             6,008,662.00               4,119,609.74                             653,463.34                            FA

    4       RETENTION RECEIVABLE                             1,243,870.00               1,243,870.00                                       0.00                        FA

    5       COSTS/ESTIMATED EARNINGS IN                      2,954,396.00               2,954,396.00                                       0.00                        FA
            EXCESS OF BILLING

    6       MISC. VEHICLES                                     380,446.00                         0.00                                     0.00                        FA

    7       MACHINERY AND EQUIPMENT                          2,135,852.00               2,031,847.55                             242,500.00                            FA

    8       LEASEHOLD IMPROVEMENTS                              78,759.00                    78,759.00                                     0.00                        FA

    9       INVENTORY                                          114,341.00                 114,341.00                                       0.00                        FA

   10       OTHER ASSETS                                        39,993.00                    39,993.00                               9,000.00                          FA

   11       TURNOVER OF FUNDS IN VARIOUS                                0.00                      0.00                              53,659.71                          FA
            DIP ACCOUNTS (u)

   12       STATE OF CALIFORNIA TAX REFUND                              0.00                   175.28                                    175.28                        FA
            (u)

   13       WF FINANCING - REFUND PERSONAL                              0.00                   273.50                                    273.50                        FA
            PROPERTY TAX (u)

   14       SETTLEMENT WITH JERRY                               15,505.77                    15,505.77                              15,505.77                          FA
            STOYER/PIES (u)
            PER ORDER ENTERED 11/20/14

   15       INSURANCE POLICY #1002MT382437 -                          580.00                   580.00                                    580.00                        FA
            REFUND (u)

   16       ADVERSARY AGAINST ERNESTO                                   0.00                 Unknown                                       0.00                        FA
            GUTIERREZ (u)

   17       INSURANCE REFUND - DEDUCTIBLE                               0.00                      0.00                               1,000.00                          FA
            REIMBURSEMENT (u)

   18*      INSURANCE SETTLEMENT WITH                            Unknown                          0.00                           117,296.83                            FA
            SCOTTSDALE INSURANCE (u) (See
            Footnote)

   19       MISC. INSURANCE PAYMENTS NOT                         Unknown                     Unknown                                 2,583.77                          FA
            ORIG. SCHEDULED (u)

   20       MISC. REFUNDS NOT ORIGINALLY                         Unknown                     Unknown                                 4,497.88                          FA
            SCHEDULED (u)

   21       VOID (u)                                                   VOID                      VOID         VOID                        VOID                   VOID

   21       Assets Totals (Excluding unknown values)       $13,102,301.43            $10,729,247.50                          $1,100,536.08                       $0.00




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                                                    Asset Cases
Case No.:   1:13-bk-11948-MT                                                   Trustee Name:      (008930) David Seror
Case Name:     ALLIED INDUSTRIES, INC.                                         Date Filed (f) or Converted (c): 05/15/2014 (c)
                                                                               § 341(a) Meeting Date:      06/16/2014
For Period Ending:   02/08/2018                                                Claims Bar Date:     09/15/2014
      RE PROP# 18      Insurance Policy EKS3052519 - alleged theft and employee dishonesty - settlement.




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                                                    Asset Cases
Case No.:   1:13-bk-11948-MT                                                  Trustee Name:      (008930) David Seror
Case Name:      ALLIED INDUSTRIES, INC.                                       Date Filed (f) or Converted (c): 05/15/2014 (c)
                                                                              § 341(a) Meeting Date:    06/16/2014
For Period Ending:   02/08/2018                                               Claims Bar Date:     09/15/2014


 Major Activities Affecting Case Closing:

                           CURRENT PERIOD ENDING 12/31/2018: All dividend checks cleared - prepare TDR 1/30/18.

                           CURRENT PERIOD ENDING 12/31/2017: Notice to professionals to file fee app and request for court costs
                           filed 2/10/17. Claims reviewed and scanned 2/10/17 (saved in PL). Court costs: $6308. On or about March
                           2017 Oak Point Partners came forth with an offer to buy "remnant assets" of the estate consisting of the
                           estate's right, title, and interest in and to the remaining property of the estate, consisting of known and
                           unknown assets, rights to payment, or claims, which have not been previously sold, assigned or transferred.
                           The 9019 motion for authority to sell this last piece of property was filed on 4/19/17 by the trustee. The case
                           should be ready to close after this final property is administered. Order approving sale of remnant property
                           entered 5/24/17. BG finalizing final fee application for filing per Karla Bagley on 7/18/17. Emailed to
                           Accountant re final estate returns 8/10/17. Final estate returns signed by the trustee and returned to
                           accountants for processing 9/8/17. Attorney final fee application filed 9/11/17: fees: $475,000, costs:
                           $12,299.11. There will be outstanding dues to the taxing authorities that will need to be entered in as admin
                           claims. TFR/NFR submitted to the UST on 10/4/17. Prompt determination outstanding. Send to UST once
                           received - 10/4/17. The UST advised that they must file a claim in the amount of $6500 for unpaid quarterly
                           fees. The TFR will have to be revised to reflect a revised distribution 10/17/17. UST's POC expected to be
                           filed today 10/18/17. Follow up with accountants re prompt determination letter 11/9/17. TFR approved by
                           the UST and filed 11/9/17 and set for hearing on 12/13/17 @ 11:00 a.m. Court approval of TFR per tentative
                           order. Order prepared and reviewed by the trustee 12/12/17.

                           CURRENT PERIOD ENDING 12/31/2016: The adversaries for collection of accounts receivable filed by the
                           trustee have either settled or been dismissed. The trustee has made substantial recovery of account
                           receivables on behalf of the estate. All of the adversaries have been closed. The trustee is currently
                           reviewing the 151 claims filed and preparing for case closure 12/12/2016.

                           CURRENT PERIOD ENDING 12/31/15: Order Approving Compromise with PW Construction entered 1/9/15.
                           Order Approving Compromise with Certified Air Conditioning entered 1/15/15. Motion to Approve
                           Compromise with Div. of Labor Standards Enforcement and Turner Construction Company filed 3/4/15.
                           Settlement check in the amount of $11,562.25 from Turner Construction received 4/20/15. Order approving
                           compromise between Trustee and Alta Construction entered on 6/2/15 whereby the adversary was resolved
                           by settlement of payment to the Trustee of $9,000 [Doc. 682]. Cash Disbursement Motion No. 2 filed 6/25/15.
                           On 10/16/15 the Court entered an Order granting motion for approving compromise between the chapter 7
                           truste and Scottsdale Insurance [Doc. 726]. On 10/30/15 the Trustee filed a motion to approve compromise
                           with Marquise Inc. dba Servpro of HOllywood Hills. On 11/23/15 the Court entered an order granting the
                           trustee's motion for order approving compromise with Marquise, Inc. dba ServPro of Hollywood Hills [Doc.
                           734]. On 12/17/15 the trustee filed a notice of abandonment of the following four advesrsary proceedings:
                           Seror v. ARcher Western Contractors, Seror v. Allstate Engineering, Seror v. Swinerton and Seror v.
                           Bernards Bros. TFR approved by the court per Tentative Ruling, proceed to lodge order.

                           CURRENT PERIOD ENDING 12/31/14: This case was commenced as a voluntary Chapter 11 and was
                           converted to chapter 7 on 5/15/14. The initial 341(a) meeting was conducted on 8/25/14 and was continued
                           until an asset report was filed on 8/26/14. File opened, EBG to get employed, application filed 6/5/14,
                           approved per Order Entered 6/30/14.. Received turnover of funds from dip accounts. Stipulation with
                           California United Bank Re: Liquidation of Secured Creditors Collateral filed 6/19/14, approved per Order
                           Entered 6/27/14. Application to employ Grobstein Teeple filed 6/27/14. Notice of Proposed abandonment of
                           Property in San Dimas filed 6/27/14. Budget Motion filed 7/9/14. Motion for sale of property of the estate filed
                           7/11/14. Hearing set for 7/28/14 @ 10am. Order approving Budget Motion #1 entered 8/5/14. Order
                           Approving Grobstein application entered 8/78/14. DS filed Notice of Proposed Abandonment of Property of
                           the Estate filed 9/11/14. Notice to professionals to file interim applications for compensation filed 10/6/14.
                           Motion to Approve Compromise with Jerry Stoyer dba Professional Indoor Environmental Services filed
                           10/29/14. Trustee interim fees requested for $20,000.00 and expenses -0-. EBG interim fees $165,765.50
                           and expenses $9,440.97. Grobstein Teeple fees $111,317.50 and expenses $1,791.19. Fee hearing set for
                           12/3/14 @ 11am. Order Approving Stipulation between Trustee and Jerry Stoyer entered 11/20/14. Motion to
                           Approve Compromise with PW Construction, Liberty Mutual and US Dept of Agriculture filed 11/24/14. Motion
                           to Approve Compromise with Certified Air Conditioning filed 11/25/14. Interim fees paid to EBG and Trustee
                           per Order Entered 12/4/14. Grobstein to be paid in 2015. Order Approving Compromise with Alex Escalanda
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                                                    Asset Cases
Case No.:   1:13-bk-11948-MT                                                  Trustee Name:      (008930) David Seror
Case Name:     ALLIED INDUSTRIES, INC.                                        Date Filed (f) or Converted (c): 05/15/2014 (c)
                                                                              § 341(a) Meeting Date:    06/16/2014
For Period Ending:   02/08/2018                                               Claims Bar Date:     09/15/2014

                          entered 12/16/14. Grobstien paid 12/30/14. Order Approving Compromise with PW Construction entered
                          1/9/15. Order Approving Compromise with Certified Air Conditioning entered 1/15/15.

                          PROFESSIONALS:
                              General Counsel: Ezra Brutzkus Gubner filed employment application 6/5/14, approved per Order
                          Entered 6/30/14.
                              Accountant: Grobstein Teeple LLP to get employed, application filed 6/27/14, approved per Order
                          Entered 8/8/14.
                              Paraprofessional: John Ambrose: application filed 7/24/14, approved per Order Entered 8/18/14.
                              Paraprofessional: Reggie Boyle; application filed 7/29/14, approved per Order Entered 8/22/14.

                          ACCOUNTS:
                             General Account was opened on 5/27/14.

                          CLAIMS:
                              Proof of claims bar date is set for 9/15/14.

                          TAXES:
                             No tax returns are currently required.


                          Last Revised: 01/27/15 KP

                          INITIAL ESTIMATED TFR DATE: 12/31/15


 Current Projected Date Of Final Report (TFR):   10/19/2017 (Actual)   Initial Projected Date Of Final Report (TFR): 12/31/2016




UST Form 101-7-TDR ( 10 /1/2010)
              Case 1:13-bk-11948-MT                   Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                    Desc
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                                                           Form 2                                                                      Exhibit 9
                                                                                                                                       Page: 1
                                           Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                            Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                     Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                  Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                      Blanket Bond (per case limit): $5,000,000.00
                                                                   Separate Bond (if applicable): N/A
    1          2                       3                                 4                              5                  6                    7

  Trans.    Check or        Paid To / Received From     Description of Transaction     Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                   Tran. Code       $                   $

 05/27/14     {3}        GUADALUPE B CAHUE            ACCOUNTS RECEIVABLE             1121-000           3,058.50                                    3,058.50

 05/27/14     {3}        LIBERTY MUTUAL               ACCOUNTS RECEIVABLE             1121-000           3,280.08                                    6,338.58

 05/27/14     {3}        MANI BROTHERS 9200           ACCOUNTS RECEIVABLE             1121-000          23,885.00                                   30,223.58
                         SUNSET (DE), LLC

 05/27/14     {3}        THE TOWBES GROUP INC         ACCOUNTS RECEIVABLE             1121-000           1,237.46                                   31,461.04

 05/27/14     {3}        AMCO INSURANCE COMPANY       ACCOUNTS RECEIVABLE             1121-000           1,520.00                                   32,981.04

 05/27/14     {3}        FARMERS INSURANCE            ACCOUNTS RECEIVABLE             1121-000           1,410.17                                   34,391.21

 05/27/14     {3}        CAL-PURE CLEAN INC           ACCOUNTS RECEIVABLE             1121-000              650.00                                  35,041.21

 05/27/14     {3}        NICOLE ANDREA VASQUEZ        ACCOUNTS RECEIVABLE             1121-000           1,695.00                                   36,736.21
                         C/C

 05/27/14     {3}        TOTAL BUILDING CARE INC.     ACCOUNTS RECEIVABLE             1121-000              916.90                                  37,653.11

 05/27/14     {3}        RUDY P TORAL                 ACCOUNTS RECEIVABLE             1121-000           1,155.00                                   38,808.11

 05/27/14     {3}        CALIFORNIA CAPITAL           ACCOUNTS RECEIVABLE             1121-000           7,040.06                                   45,848.17
                         INSURANCE COMPANY

 05/27/14     {3}        FR CONSTRUCTION INC          ACCOUNTS RECEIVABLE             1121-000           1,500.00                                   47,348.17

 05/27/14     {3}        DANIEL GOLDMAN               ACCOUNTS RECEIVABLE             1121-000              750.00                                  48,098.17

 05/27/14     {3}        FLORA A MILLER               ACCOUNTS RECEIVABLE             1121-000           2,326.39                                   50,424.56

 05/27/14     {3}        CHARLOTTE SAMPLES            ACCOUNTS RECEIVABLE             1121-000              100.00                                  50,524.56

 05/27/14     {3}        CALIFORNIA CAPITAL           ACCOUNTS RECEIVABLE             1121-000           1,868.52                                   52,393.08
                         INSURANCE COMPANY

 05/27/14     {3}        CECILIA I OLSSON             ACCOUNTS RECEIVABLE             1121-000           2,068.60                                   54,461.68

 05/27/14     {3}        FARMERS INSURANCE            ACCOUNTS RECEIVABLE             1121-000           2,432.60                                   56,894.28

 05/27/14     {3}        CAROL L STILES               ACCOUNTS RECEIVABLE             1121-000           1,377.80                                   58,272.08

 05/27/14     {3}        DARLA PARKS                  ACCOUNTS RECEIVABLE             1121-000           1,151.83                                   59,423.91

 05/27/14     {3}        SUSANA ANTIMO                ACCOUNTS RECEIVABLE             1121-000           1,500.00                                   60,923.91

 05/27/14     {3}        ALLSTATE                     ACCOUNTS RECEIVABLE             1121-000           2,135.42                                   63,059.33

 05/27/14     {3}        ABRAHAM ZAVALA               ACCOUNTS RECEIVABLE             1121-000              150.00                                  63,209.33

 05/27/14     {3}        ABRAHAM ZAVALA               ACCOUNTS RECEIVABLE             1121-000              150.00                                  63,359.33

 05/27/14     {3}        MARK JOSTEN                  ACCOUNTS RECEIVABLE             1121-000           1,520.00                                   64,879.33

 05/27/14     {3}        ANGEL D GARCIA               ACCOUNTS RECEIVABLE             1121-000              100.00                                  64,979.33

 05/27/14     {3}        ROXY M MERCER                ACCOUNTS RECEIVABLE             1121-000              785.00                                  65,764.33

 05/27/14     {3}        CRANE AEROSPACE &            ACCOUNTS RECEIVABLE             1121-000           4,498.00                                   70,262.33
                         ELECTRONICS

 05/27/14     {3}        CIVIL SERVICE EMPLOYEES      ACCOUNTS RECEIVABLE             1121-000           7,866.76                                   78,129.09
                         INSURANCE GROUP

 05/27/14     {3}        MERCURY INSURANCE            ACCOUNTS RECEIVABLE             1121-000           1,545.00                                   79,674.09
                         GROUP

                                                                                Page Subtotals:       $79,674.09               $0.00     true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                      ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                   Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                      Desc
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                                                              Form 2                                                                     Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                             Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                      Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                   Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                       Blanket Bond (per case limit): $5,000,000.00
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                               4                              5                  6                     7

  Trans.    Check or        Paid To / Received From     Description of Transaction      Uniform       Deposit          Disbursement       Account Balance
   Date      Ref. #                                                                    Tran. Code       $                    $



 05/27/14     {3}        911 RESTORATION &            ACCOUNTS RECEIVABLE              1121-000           1,400.02                                    81,074.11
                         CONSTRUCTION SERVICES
                         INC

 05/27/14     {3}        SUPERIOR GROCERS             ACCOUNTS RECEIVABLE              1121-000          23,460.00                                   104,534.11

 05/30/14                Rabobank, N.A.               Bank and Technology Services     2600-000                                  10.02               104,524.09
                                                      Fee

 06/02/14     {3}        ROBERT E BROOKS              ACCOUNTS RECEIVABLE              1121-000              125.00                                  104,649.09

 06/02/14     {3}        LBS FINANCIAL CREDIT UNION   ACCOUNTS RECEIVABLE              1121-000              107.00                                  104,756.09
                         RE: LUANA WESLEY

 06/02/14     {3}        VENUS D ROMERO               ACCOUNTS RECEIVABLE              1121-000           1,754.63                                   106,510.72

 06/04/14     {3}        JENNIFER MALKIN              ACCOUNTS RECEIVABLE              1121-000           2,309.90                                   108,820.62

 06/06/14     {11}       BANK OF THE WEST C/C -       TURNOVER OF FUNDS IN             1290-010          53,659.71                                   162,480.33
                         ALLIED INDUSTRIES            VARIOUS DIP ACCOUNTS GEN
                                                      ACCT $739.70, PAYROLL
                                                      $52,719.13, TAX $97.26, TRUST
                                                      $100.00, GREEN $3.62

 06/09/14     {3}        JOB D. DECOLONGON            ACCOUNTS RECEIVABLE -            1121-000              469.00                                  162,949.33
                                                      ITEM RETURNED NSF 6/16/14

 06/12/14     {3}        STEVE R SANTILLIAN M/O       ACCOUNTS RECEIVABLE              1121-000               25.00                                  162,974.33

 06/12/14     {3}        ANGEL D GARCIA               ACCOUNTS RECEIVABLE              1121-000              100.00                                  163,074.33

 06/12/14     {3}        STEVE R SANTILLIAN M/O       ACCOUNTS RECEIVABLE              1121-000               25.00                                  163,099.33

 06/12/14     {3}        MERCURY INSURANCE            ACCOUNTS RECEIVABLE              1121-000           1,972.20                                   165,071.53
                         GROUP

 06/12/14     {3}        CYNTHIA L BURTON             ACCOUNTS RECEIVABLE              1121-000              200.00                                  165,271.53

 06/12/14     {3}        STEVE R SANTILLIAN M/O       ACCOUNTS RECEIVABLE              1121-000               25.00                                  165,296.53

 06/12/14     {3}        STEVEN R SANTILLIAN M/O      ACCOUNTS RECEIVABLE              1121-000               25.00                                  165,321.53

 06/12/14     101        e-STET, LLP                  FIRST MONTH OF MANAGED           2420-000                              2,470.00                162,851.53
                                                      DATA SERVICES PER BUDGET
                                                      MOTION ENTERED 8/5/14

 06/12/14     102        UNITED RECORDS               ACCOUNT #3909 5/1/14 - 5/31/14   2420-000                                 272.50               162,579.03
                         MANAGEMENT                   - BARCODES & BOXES PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 06/13/14     {3}        MERCURY INSURANCE            ACCOUNTS RECEIVABLE              1121-000           1,133.03                                   163,712.06
                         GROUP

 06/17/14     {3}        JOB DECOLONGON               RETURNED NSF                     1121-000              -469.00                                 163,243.06

 06/20/14     {3}        CHARLOTTE SAMPLES            ACCOUNTS RECEIVABLE              1121-000              100.00                                  163,343.06

 06/25/14     {3}        EGL PROPERTIES INC.          ACCOUNTS RECEIVABLE              1121-000           1,430.20                                   164,773.26

 06/25/14     {3}        MARINA TELLEZ                ACCOUNTS RECEIVABLE              1121-000              200.00                                  164,973.26

 06/30/14     {3}        THE GAS COMPANY              ACCOUNTS RECEIVABLE              1121-000          16,000.00                                   180,973.26


                                                                                 Page Subtotals:      $104,051.69          $2,752.52       true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                       ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                             Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                      Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                   Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                       Blanket Bond (per case limit): $5,000,000.00
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                               4                              5                  6                     7

  Trans.    Check or        Paid To / Received From     Description of Transaction      Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                    Tran. Code       $                   $

 06/30/14     103        FEDERAL MAILBOX CENTER       MAILBOX RENEWAL FEE FOR          2420-000                                 270.00               180,703.26
                                                      ONE YEAR BOX #308 6/1/14 -
                                                      6/1/15 PER BUDGET MOTION
                                                      ENTERED 8/5/14

 06/30/14                Rabobank, N.A.               Bank and Technology Services     2600-000                                 201.21               180,502.05
                                                      Fee

 07/02/14     {3}        EGL PROPERTIES               A/R CHECK RETURNED NSF           1121-000          -1,430.20                                   179,071.85

 07/03/14     {3}        LOS ANGELES LEGAL            ACCOUNTS RECEIVABLE              1121-000               15.00                                  179,086.85
                         SERVICE

 07/03/14     {3}        ROBERT E. BROOKS             ACCOUNTS RECEIVABLE              1121-000              125.00                                  179,211.85

 07/03/14     {3}        UNITED SERVICES              ACCOUNTS RECEIVABLE              1121-000           2,160.21                                   181,372.06
                         AUTOMOBILE ASSOCIATION

 07/03/14     {3}        PACIFIC NATIONAL GROUP       ACCOUNTS RECEIVABLE              1121-000           3,200.00                                   184,572.06

 07/03/14     {3}        ALLSTATE                     ACCOUNTS RECEIVABLE              1121-000           8,423.18                                   192,995.24

 07/03/14     {3}        SAM & TOVA VOLNER            ACCOUNTS RECEIVABLE              1121-000           1,160.00                                   194,155.24

 07/03/14     {3}        ON-SITE BUILDERS, INC.       ACCOUNTS RECEIVABLE              1121-000           2,520.00                                   196,675.24

 07/03/14     {3}        S.C. ANDERSON GROUP          ACCOUNTS RECEIVABLE              1121-000           3,524.00                                   200,199.24
                         INTERNATIONAL, INC.

 07/03/14     {3}        ALLSTATE                     ACCOUNTS RECEIVABLE              1121-000              900.00                                  201,099.24

 07/03/14     {3}        OPTUMHEALTH FINANCIAL        ACCOUNTS RECEIVABLE              1121-000           1,361.57                                   202,460.81
                         SERVICES, INC.

 07/03/14     {3}        FARMERS INSURANCE            ACCOUNTS RECEIVABLE              1121-000           3,060.27                                   205,521.08

 07/03/14     {3}        ALLSTATE                     ACCOUNTS RECEIVABLE              1121-000           1,863.80                                   207,384.88

 07/03/14     {3}        STILLWATER INSRUANCE         ACCOUNTS RECEIVABLE              1121-000           1,915.20                                   209,300.08
                         COMPANY

 07/03/14     {3}        CALIFORNIA CASUALTY          ACCOUNTS RECEIVABLE              1121-000           1,345.11                                   210,645.19

 07/03/14     {3}        S.C. ANDERSON GROUP          ACCOUNTS RECEIVABLE              1121-000           2,241.50                                   212,886.69
                         INTERNATIONAL, INC.

 07/03/14     {3}        PAUL DAVID RESTORATION       ACCOUNTS RECEIVABLE              1121-000           2,442.46                                   215,329.15

 07/03/14     {3}        THE HARTFORD                 ACCOUNTS RECEIVABLE              1121-000           4,753.03                                   220,082.18

 07/03/14     {3}        DOUGLAS R HUME TRUSTEE       ACCOUNTS RECEIVABLE              1121-000               50.00                                  220,132.18

 07/03/14     {3}        ALTA COMMUNITY               ACCOUNTS RECEIVABLE              1121-000           1,594.54                                   221,726.72
                         INVESTMENT VI LLC

 07/03/14     {3}        DOUGLAS R HUME TRUSTEE       ACCOUNTS RECEIVABLE              1121-000               50.00                                  221,776.72

 07/03/14     {3}        WELLS FARGO FINANCIAL        ACCOUNTS RECEIVABLE              1121-000              136.94                                  221,913.66
                         LEASING, INC.

 07/03/14     {3}        ALLSTATE                     ACCOUNTS RECEIVABLE              1121-000           1,340.00                                   223,253.66

 07/03/14     {3}        MARGARITA MARINO             ACCOUNTS RECEIVABLE              1121-000           1,674.95                                   224,928.61

 07/03/14     {3}        STATE FARM GENERAL           ACCOUNTS RECEIVABLE              1121-000           1,980.25                                   226,908.86
                         INSURANCE COMPANY


                                                                                 Page Subtotals:       $46,406.81            $471.21       true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                       ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                   Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                       Desc
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                                                              Form 2                                                                      Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                              Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                       Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                    Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                        Blanket Bond (per case limit): $5,000,000.00
                                                                     Separate Bond (if applicable): N/A
    1          2                          3                                   4                            5                 6                     7

  Trans.    Check or        Paid To / Received From      Description of Transaction      Uniform       Deposit          Disbursement       Account Balance
   Date      Ref. #                                                                     Tran. Code       $                    $

 07/03/14     {3}        S.C. ANDERSON GROUP          ACCOUNTS RECEIVABLE               1121-000            2,491.54                                  229,400.40
                         INTERNATIONAL, INC.

 07/03/14     {3}        CIVIL SERVICE EMPLOYEES      ACCOUNTS RECEIVABLE               1121-000            3,663.42                                  233,063.82
                         INSURANCE GROUP

 07/03/14     {3}        ALLSTATE                     ACCOUNTS RECEIVABLE               1121-000            8,950.00                                  242,013.82

 07/15/14     {3}        SIDHARTHA PAUL               ACCOUNTS RECEIVABLE               1121-000               850.00                                 242,863.82

 07/17/14     {3}        MARINA TELLEZ                ACCOUNTS RECEIVABLE               1121-000               200.00                                 243,063.82

 07/17/14     {3}        ANGEL D GARCIA               ACCOUNTS RECEIVABLE               1121-000                93.91                                 243,157.73

 07/18/14     {3}        CHARLOTTE SAMPLES            ACCOUNTS RECEIVABLE               1121-000               100.00                                 243,257.73

 07/25/14     {3}        EGL PROPERTIES, INC. -       ACCOUNTS RECEIVABLE               1121-000            1,430.20                                  244,687.93
                         DETROIT (848)

 07/25/14     {7}        TIGER REMARKETING            DEPOSIT PENDING COURT             1129-000          242,500.00                                  487,187.93
                         SERVICES                     APPROVAL - SALE OF
                                                      BUSINESS ASSETS

 07/28/14     {3}        ALFONZO & KAREN WILSON       ACCOUNTS RECEIVABLE               1121-000            1,500.00                                  488,687.93

 07/30/14     {3}        S.C. ANDERSON GROUP          ACCOUNTS RECEIVABLE               1121-000            1,200.00                                  489,887.93
                         INTERNATIONAL, INC.

 07/30/14     {12}       STATE OF CALIFORNIA          TAX REFUND FOR PERIOD             1224-000               175.28                                 490,063.21
                         EMPLOYMENT DEVELOPMENT       ENDING 6/30/13 ACCT #448-
                         DEPARTMENT                   8597-8

 07/30/14     {3}        ROBERT L. MOREAU & MEGAN     ACCOUNTS RECEIVABLE               1121-000               475.00                                 490,538.21
                         R. ASHBY

 07/30/14     {3}        DALLASWHITE CORPORATION      ACCOUNTS RECEIVABLE               1121-000               112.50                                 490,650.71

 07/30/14     {3}        AMCO INSURANCE COMPANY       ACCOUNTS RECEIVABLE               1121-000            4,273.56                                  494,924.27

 07/31/14                Rabobank, N.A.               Bank and Technology Services      2600-000                                 421.93               494,502.34
                                                      Fee

 08/01/14     104        SOUTHERN CALIFORNIA          ACCT. # *-**-***-8980             2420-000                                  81.62               494,420.72
                         EDISON

 08/05/14     {3}        ROBERT AND NORMA BROOKS      ACCOUNTS RECEIVABLE               1121-000               125.00                                 494,545.72

 08/06/14     105        UNITED RECORDS               ACCOUNT #3909 6/1/14 - 6/30/14    2420-000                                 545.00               494,000.72
                         MANAGEMENT                   - BARCODES & BOXES PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 08/06/14     106        UNITED RECORDS               ACCOUNT #3909 7/1/14 - 7/31/14    2420-000                              1,454.75                492,545.97
                         MANAGEMENT                   - STORAGE & SERVICES PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 08/06/14     107        e-STET, LLP                  INVOICE #LA002331-02              2420-000                              1,575.00                490,970.97
                                                      NETWORK HARDWARE
                                                      STORAGE PER BUDGET
                                                      MOTION ENTERED 8/5/14

 08/06/14     108        KEVIN LA BRIE                QUOTE #GT001 ASSIST IT AND        2420-000                                 475.00               490,495.97
                                                      ACCOUNTING STAFF PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14


                                                                                  Page Subtotals:      $268,140.41          $4,553.30       true

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                                              Cash Receipts And Disbursements Record
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Taxpayer ID #:         **-***1128                                   Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                       Blanket Bond (per case limit): $5,000,000.00
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                               4                              5                  6                     7

  Trans.    Check or        Paid To / Received From     Description of Transaction      Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                    Tran. Code       $                   $

 08/07/14     {3}        MARINA TELLEZ                ACCOUNTS RECEIVABLE              1121-000               40.00                                  490,535.97

 08/15/14     {3}        CHARLOTTE A. SAMPLES         ACCOUNTS RECEIVABLE              1121-000              100.00                                  490,635.97

 08/19/14     {3}        AURDRA L. THOMPSON           ACCOUNTS RECEIVABLE              1121-000           1,699.75                                   492,335.72

 08/19/14     109        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                             21,148.70                471,187.02
                                                      6/23/14 TO 8/16/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 08/26/14     {3}        PACIFIC COAST TITLE          ACCOUNTS RECEIVABLE              1121-000           1,485.15                                   472,672.17
                         COMPANY

 08/26/14     110        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              5,232.50                467,439.67
                                                      8/17/14 TO 8/23/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 08/26/14     111        REGIS F. BOYLE JR.           FIELD AGENT SERVICES             2420-000                              5,517.17                461,922.50
                                                      5/23/14 TO 7/31/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 08/29/14                Rabobank, N.A.               Bank and Technology Services     2600-000                                 677.11               461,245.39
                                                      Fee

 09/03/14     {3}        REGINA M CANTU               ALLSTATE - ACCOUNTS              1121-000           1,500.00                                   462,745.39
                                                      RECEIVABLE - CHECK
                                                      RETURNED REFER TO MAKER

 09/03/14     {3}        DOUGLAS AND SUZANNE          ACCOUNTS RECEIVABLE              1121-000               50.00                                  462,795.39
                         HUME

 09/03/14     {3}        S.C. ANDERSON GROUP          ACCOUNTS RECEIVABLE              1121-000              800.00                                  463,595.39
                         INTERNATIONAL, INC

 09/03/14     {3}        S.C. ANDERSON GROUP          ACCOUNTS RECEIVABLE              1121-000           1,800.00                                   465,395.39
                         INTERNATIONAL, INC

 09/03/14     {3}        DOUGLAS AND SUZANNE          ACCOUNTS RECEIVABLE              1121-000               50.00                                  465,445.39
                         HUME

 09/05/14     {3}        PMAC LENDING SERVICES,       ACCOUNTS RECEIVABLE -            1121-000           3,107.82                                   468,553.21
                         INC.                         PAYABLE TO JF MARIN & SETH
                                                      KNUDSEN & ALLIED

 09/05/14     112        REGIS F. BOYLE JR.           FIELD AGENT SERVICES             2420-000                                 652.50               467,900.71
                                                      PERIOD ENDING 8/31/14 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 09/05/14     113        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              5,092.50                462,808.21
                                                      8/24/14 TO 8/30/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 09/05/14     114        e-STET, LLP                  INVOICE #LA002331-03             2420-000                              1,707.00                461,101.21
                                                      NETWORK HARDWARE
                                                      STORAGE PER BUDGET
                                                      MOTION ENTERED 8/5/14

 09/05/14     115        UNITED RECORDS               ACCOUNT #3909 8/1/14 - 8/31/14   2420-000                              1,001.50                460,099.71
                         MANAGEMENT                   - STORAGE & SERVICES
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 09/08/14     {3}        DEB SPECIALIZED BUILDERS     ACCOUNTS RECEIVABLE              1121-000           8,993.00                                   469,092.71

 09/09/14     {3}        ALLSTATE - REGINA CANTU      RETURNED ITEM - REFER TO         1121-000          -1,500.00                                   467,592.71
                                                      MAKER

                                                                                 Page Subtotals:       $18,125.72        $41,028.98        true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                       ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                   Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                      Desc
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                                                              Form 2                                                                     Exhibit 9
                                                                                                                                         Page: 6
                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                             Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                      Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                   Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                       Blanket Bond (per case limit): $5,000,000.00
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                               4                              5                  6                     7

  Trans.    Check or        Paid To / Received From     Description of Transaction      Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                    Tran. Code       $                   $



 09/16/14     116        CALIFORNIA UNITED BANK       PAYMENT TO SECURED               4210-000                             28,636.03                438,956.68
                                                      CREDITOR RE DIP FUNDS PER
                                                      STIPULATION ENTERED 7/27/14

 09/24/14     117        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                             12,040.00                426,916.68
                                                      8/31/14 TO 9/20/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 09/24/14     118        REGIS F. BOYLE JR.           FIELD AGENT SERVICES             2420-000                              1,237.50                425,679.18
                                                      PERIOD ENDING 9/15/14 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 09/24/14     119        REGIS F. BOYLE JR.           FIELD AGENT EXPENSE              2420-000                                  54.91               425,624.27
                                                      REIMBURSEMENT PERIOD
                                                      ENDING 9/15/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 09/24/14     120        CLAIM ALLY                   PA REFERRAL FEE - INVOIUCE       3731-000                                 621.56               425,002.71
                                                      #26 RE: JORGE MARIN

 09/30/14                Rabobank, N.A.               Bank and Technology Services     2600-000                                 703.81               424,298.90
                                                      Fee

 10/03/14     {3}        MELISSA COLLINS              ACCOUNTS RECEIVABLE              1121-000               10.00                                  424,308.90

 10/03/14     {3}        MERCURY INSURANCE            ACCOUNTS RECEIVABLE -            1121-000           3,233.53                                   427,542.43
                         GROUP                        KEMPTON & LINH REDHEAD

 10/03/14     {3}        DOUGLAS R HUME TRUSTEE       ACCOUNTS RECEIVABLE              1121-000               50.00                                  427,592.43

 10/03/14     {3}        LOS ANGELES AIR              ACCOUNTS RECEIVABLE              1121-000              360.00                                  427,952.43
                         CONDITIONING, INC.

 10/06/14     {13}       WELLS FARGO FINANCIAL        REFUND PERSONAL                  1224-000              273.50                                  428,225.93
                         LEASING, INC.                PROPERTY TAX ***-******9-002

 10/07/14     121        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              1,190.00                427,035.93
                                                      9/21/14 9/27/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 10/07/14     122        e-STET, LLP                  INVOICE #LA002331-04             2420-000                              1,575.00                425,460.93
                                                      NETWORK HARDWARE
                                                      STORAGE PER BUDGET
                                                      MOTION ENTERED 8/5/14

 10/07/14     123        UNITED RECORDS               ACCOUNT #3909 9/1/14 - 9/30/14   2420-000                                 670.75               424,790.18
                         MANAGEMENT                   - STORAGE & SERVICES
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 10/31/14                Rabobank, N.A.               Bank and Technology Services     2600-000                                 632.56               424,157.62
                                                      Fee

 11/05/14     124        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              4,655.00                419,502.62
                                                      10/2/14 - 11/1/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 11/05/14     125        e-STET, LLP                  INVOICE #LA002331.05             2420-000                              1,575.00                417,927.62
                                                      NETWORK HARDWARE
                                                      STORAGE PER BUDGET
                                                      MOTION ENTERED 8/5/14

 11/05/14     126        UNITED RECORDS               ACCOUNT #3909 10/1/14 -          2420-000                                 452.50               417,475.12


                                                                                 Page Subtotals:         $3,927.03       $54,044.62        true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                       ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                   Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                      Desc
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                                                              Form 2                                                                     Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                             Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                      Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                   Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                       Blanket Bond (per case limit): $5,000,000.00
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                               4                              5                  6                     7

  Trans.    Check or        Paid To / Received From     Description of Transaction      Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                    Tran. Code       $                   $

                         MANAGEMENT                   10/31/14 - STORAGE &
                                                      SERVICES BUDGET MOTION
                                                      ENTERED 8/5/14

 11/18/14     {3}        ON-SITE BUILDERS, INC.       ACCOUNTS RECEIVABLE              1121-000              280.00                                  417,755.12

 11/25/14     {3}        CHURCH MUTUAL INSURANCE      ACCOUNTS RECEIVABLE              1121-000           2,275.11                                   420,030.23
                         COMPANY

 11/25/14     {3}        MARCO AND BERTHA             ACCOUNTS RECEIVABLE              1121-000           3,139.45                                   423,169.68
                         RAMIREZ

 11/25/14     {3}        SOUTH COAST WATER            ACCOUNTS RECEIVABLE              1121-000           2,417.50                                   425,587.18
                         DISTRICT

 11/26/14     127        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              1,015.00                424,572.18
                                                      11/2/14 - 11/22/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 11/28/14                Rabobank, N.A.               Bank and Technology Services     2600-000                                 545.30               424,026.88
                                                      Fee

 12/02/14     {3}        THE HARTFORD                 ACCOUNTS RECEIVABLE              1121-000           2,590.04                                   426,616.92

 12/04/14     128        e-STET, LLP                  INVOICE #LA002331.06             2420-000                              1,575.00                425,041.92
                                                      NETWORK HARDWARE
                                                      STORAGE PER BUDGET
                                                      MOTION ENTERED 8/5/14

 12/04/14     129        UNITED RECORDS               ACCOUNT #3909 11/1/14 -          2420-000                                 460.00               424,581.92
                         MANAGEMENT                   11/30/14 - STORAGE &
                                                      SERVICES BUDGET MOTION
                                                      ENTERED 8/5/14

 12/04/14     130        David Seror                  TRUSTEE FEES PER ORDER           2100-000                             20,000.00                404,581.92
                                                      ENTERED 12/4/14

 12/04/14     131        EZRA BRUTZKUS GUBNER         80% INTERIM ATTORNEY FOR         3110-000                            132,612.40                271,969.52
                                                      TRUSTEE FEES PER ORDER
                                                      ENTERED 12/4/14

 12/04/14     132        EZRA BRUTZKUS GUBNER         INTERIM ATTORNEY FOR             3120-000                              9,440.97                262,528.55
                                                      TRUSTEE EXPENSES PER
                                                      ORDER ENTERED 12/4/14

 12/11/14     133        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              1,347.50                261,181.05
                                                      11/23/14 TO 12/7/14 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14 - payment stopped
                                                      Stopped on 12/22/2014

 12/22/14     {15}       LEGENDS ENVIRONMENTAL        INSURANCE REFUND POLICY          1229-000              580.00                                  261,761.05
                         INSURANCE SERVICES           #1002MT382437 BUSINESS
                                                      AUTOMOBILE

 12/22/14     {14}       JERRY STOYER                 PER SETTLEMENT                   1249-000          15,505.77                                   277,266.82
                                                      AGREEMENT ENTERED
                                                      11/20/14

 12/22/14     133        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                             -1,347.50                278,614.32
                                                      11/23/14 TO 12/7/14 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14 - payment stopped
                                                      Stopped: check issued on
                                                      12/11/2014



                                                                                 Page Subtotals:       $26,787.87       $165,648.67        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                      ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                   Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                      Desc
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                             Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                      Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                   Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                       Blanket Bond (per case limit): $5,000,000.00
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                               4                              5                  6                     7

  Trans.    Check or        Paid To / Received From     Description of Transaction      Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                    Tran. Code       $                   $

 12/22/14     134        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              1,347.50                277,266.82
                                                      11/23/14 TO 12/7/14 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14 - payment stopped
                                                      Stopped on 12/23/2014

 12/23/14     134        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                             -1,347.50                278,614.32
                                                      11/23/14 TO 12/7/14 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14 - payment stopped
                                                      Stopped: check issued on
                                                      12/22/2014

 12/23/14     135        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              1,347.50                277,266.82
                                                      11/23/14 TO 12/7/14 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 12/29/14     {3}        STEPHEN & JANICE TAUS        ACCOUNTS RECEIVEABLE PER         1121-000           7,157.75                                   284,424.57
                                                      DEMAND LETTER

 12/30/14     136        GROBSTEIN TEEPLE             INTERIM ACCOUNTANT FOR           3410-000                            111,317.50                173,107.07
                                                      TRUSTEE FEES PER ORDER
                                                      ENTERED 12/4/14

 12/30/14     137        GROBSTEIN TEEPLE             INTERIM ACCOUNTANT FOR           3420-000                              1,791.19                171,315.88
                                                      TRUSTEE EXPENSES PER
                                                      ORDER ENTERED 12/4/14

 12/31/14                Rabobank, N.A.               Bank and Technology Services     2600-000                                 497.49               170,818.39
                                                      Fee

 01/07/15     {3}        L.R. CRYAN                   ACCOUNTS RECEIVABLE -            1121-000           1,620.00                                   172,438.39
                                                      LEAH CRYAN PER LETTER
                                                      SENT 12/20/14

 01/14/15     {3}        ZANKER ROAD RESOURCE         ACCOUNTS RECEIVABLE              1121-000              994.19                                  173,432.58
                         MANAGEMENT LTD

 01/14/15     {3}        DOUGLAS R HUME TRUSTEE       ACCOUNTS RECEIVABLE              1121-000               50.00                                  173,482.58

 01/14/15     {3}        MELISSA COLLINS M/O          ACCOUNTS RECEIVABLE              1121-000               20.00                                  173,502.58

 01/14/15     {3}        DOUGLAS R HUME TRUSTEE       ACCOUNTS RECEIVABLE              1121-000               50.00                                  173,552.58

 01/14/15     {3}        ZANKER ROAD RESOURCE         ACCOUNTS RECEIVABLE              1121-000              998.75                                  174,551.33
                         MANAGEMENT LTD

 01/15/15     {3}        DOUGLAS R HUME TRUSTEE       ACCOUNTS RECEIVABLE              1121-000               50.00                                  174,601.33

 01/15/15     {3}        WITHLACOOCHEE RIVER          ACCOUNTS RECEIVABLE              1121-000               20.97                                  174,622.30
                         ELECTRIC COOPERATIVE INC

 01/15/15     138        JOHN R. AMBROSE              CONSULTING SERVICES              3731-000                              1,505.00                173,117.30
                                                      12/8/14 TO 1/4/15 INVOICE
                                                      #1080 PER BUDGET MOTION
                                                      ENTERED 8/5/14

 01/15/15     139        e-STET, LLP                  NETWORK HARDWARE                 2420-000                              1,575.00                171,542.30
                                                      STORAGE 1/1/15 - 1/31/15 INV
                                                      #LA002331.07 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 01/15/15     140        UNITED RECORDS               STORAGE INVOICE #0021062         2420-000                                 454.75               171,087.55
                         MANAGEMENT                   12/1/14 - 12/31/14 PER BUDGET
                                                      MOTION ENTERED 8/5/14


                                                                                 Page Subtotals:       $10,961.66       $118,488.43        true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                       ! - transaction has not been cleared
               Case 1:13-bk-11948-MT                  Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                      Desc
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                             Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                      Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                   Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                       Blanket Bond (per case limit): $5,000,000.00
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                               4                              5                  6                     7

  Trans.    Check or        Paid To / Received From     Description of Transaction      Uniform       Deposit         Disbursement        Account Balance
   Date      Ref. #                                                                    Tran. Code       $                   $

 01/26/15      {3}       TERRA NOVA                   ACCOUNTS RECEIVABLE              1121-000           1,740.00                                   172,827.55

 01/26/15     141        CALIFORNIA UNITED BANK       PAYMENT TO SECURED               4210-000                             66,652.53                106,175.02
                                                      CREDITOR RE DIP FUNDS PER
                                                      STIPULATION ENTERED 7/27/14

 01/30/15                Rabobank, N.A.               Bank and Technology Services     2600-000                                 296.97               105,878.05
                                                      Fee

 02/05/15      {3}       CERTIFIED AIR                ACCOUNTS RECEIVABLE              1121-000          20,000.00                                   125,878.05
                         CONDITIONING, INC.           SETTLEMENT

 02/06/15     142        e-STET, LLP                  NETWORK HARDWARE                 2420-000                              1,575.00                124,303.05
                                                      STORAGE 2/1/15 - 2/28/15 INV
                                                      #LA002331.08 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 02/06/15     143        UNITED RECORDS               STORAGE INVOICE #0021326         2420-000                                 452.50               123,850.55
                         MANAGEMENT                   1/1/15 - 1/31/15 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 02/06/15     144        DEPARTMENT OF THE            FORM 940 FOR 2014 XX-XXXXXXX     2810-000                              5,378.66                118,471.89
                         TREASURY - IRS

 02/09/15      {3}       MARINE CORPS COMMUNITY       ACCOUNTS RECEIVABLE              1121-000           4,620.00                                   123,091.89
                         SERVICES

 02/13/15     145        JOHN R. AMBROSE              CONSULTING SERVICES 1/5/15       3731-000                              3,237.50                119,854.39
                                                      TO 2/8/15 INVOICE #1081 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 02/24/15      {3}       GALVIC CONSTUCTION &         ACCOUNTS RECEIVABLE              1121-000           3,712.50                                   123,566.89
                         DEVELOPMENT, INC.

 02/24/15      {3}       GALVIC CONSTRUCTION &        ACCOUNTS RECEIVABLE              1121-000           3,918.75                                   127,485.64
                         DEVELOPMENT, INC.

 02/27/15                Rabobank, N.A.               Bank and Technology Services     2600-000                                 161.23               127,324.41
                                                      Fee

 03/05/15     146        e-STET, LLP                  NETWORK HARDWARE                 2420-000                              1,575.00                125,749.41
                                                      STORAGE 3/1/15 - 3/31/15 INV
                                                      #LA002331.09 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 03/05/15     147        JOHN R. AMBROSE              CONSULTING SERVICES 2/9/15       3731-000                              3,535.00                122,214.41
                                                      TO 2/28/15 INVOICE #1082 AND
                                                      1083 PER BUDGET MOTION
                                                      ENTERED 8/5/14

 03/05/15    148 {3}     GALVIC CONSTRUCTION &        REFUND FOR CHECK NO. 4171        1121-000          -3,712.50                                   118,501.91
                         DEVELOPMENT, INC.            DATED 2/19/2015 PAID TO
                                                      ALLIED INDUSTRIES IN ERROR

 03/05/15    149 {3}     GALVIC CONSTRUCTION &        REFUND FOR CHECK NO. 4172        1121-000          -3,918.75                                   114,583.16
                         DEVELOPMENT, INC.            DATED 2/19/2015 PAID TO
                                                      ALLIED INDUSTRIES IN ERROR

 03/05/15     150        UNITED RECORDS               STORAGE INVOICE #0021326         2420-000                                 452.50               114,130.66
                         MANAGEMENT                   2/1/15 - 2/28/15 PER BUDGET
                                                      MOTION ENTERED 8/5/14

 03/05/15     151        INTERNATIONAL SURETIES       BOND PREMIUM PAYMENT ON          2300-000                                  93.98               114,036.68
                         LTD                          LEDGER BALANCE AS OF
                                                      03/05/2015 FOR CASE #13-
                                                      11948, BLANKET BOND

                                                                                 Page Subtotals:       $26,360.00        $83,410.87        true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                       ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                               Trustee Name:                      David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                        Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***1128                                     Account #:                         ******1466 Checking Account
For Period Ending: 02/08/2018                                         Blanket Bond (per case limit): $5,000,000.00
                                                                      Separate Bond (if applicable): N/A
    1          2                          3                                  4                                5                 6                     7

  Trans.    Check or        Paid To / Received From      Description of Transaction          Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                         Tran. Code       $                  $

                                                      #016030867 (1-4-15 TO 1-4-16)

 03/10/15     {3}        DOUGLAS R HUMES TRUSTEE      ACCOUNTS RECEIVABLE                   1121-000              50.00                               114,086.68

 03/10/15     {17}       MARKEL INSURANCE             DEDUCTIBLE REIMBURSEMENT              1229-000           1,000.00                               115,086.68
                         COMPANY                      SUBROGATION RECOVERY

 03/10/15     {3}        DOUGLAS R HUME TRUSTEE       ACCOUNTS RECEIVABLE                   1121-000              50.00                               115,136.68

 03/13/15     152        JOHN R. AMBROSE              CONSULTING SERVICES 3/1/15            3731-000                            2,590.00              112,546.68
                                                      TO 3/8/15 INVOICE #1084 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 03/26/15     153        JOHN R. AMBROSE              CONSULTING SERVICES 3/9/15            3731-000                            1,907.50              110,639.18
                                                      TO 3/15/15 INVOICE #1085 PER
                                                      BUDGET MOTION ENTERED
                                                      8/5/14

 03/31/15                Rabobank, N.A.               Bank and Technology Services          2600-000                                185.09            110,454.09
                                                      Fee

 04/14/15     154        JOHN R. AMBROSE              Invoice #1086 / Consulting Fees       3731-000                            4,970.00              105,484.09
                                                      for 3/16/15 - 3/29/15

 04/14/15     155        JOHN R. AMBROSE              Invoice #1087 / Consulting Fees       3731-000                            2,081.35              103,402.74
                                                      for 3/30/15 - 4/4/15

 04/14/15     156        e-STET, LLP                  Invoice No. LA002331.10 / Dated       2420-000                            1,575.00              101,827.74
                                                      4/1/15

 04/14/15     157        UNITED RECORDS               Invoice No. 0021883/Acct              2420-000                                452.50            101,375.24
                         MANAGEMENT                   3909/Period 3/1/15 to 3/31/15

 04/20/15     {3}        TURNER CONSTRUCTION          SETTLEMENT CHECK FROM                 1121-000          11,562.25                               112,937.49
                         COMPANY                      TURNER CONSTRUCTION CO.

 04/30/15                Rabobank, N.A.               Bank and Technology Services          2600-000                                160.76            112,776.73
                                                      Fee

 05/08/15     158        UNITED RECORDS &             INVOICE #0022178 DATED                2420-000                                452.50            112,324.23
                         MANAGEMENT                   4/30/15 / ACCNT # 3909 FOR
                                                      PERIOD 4/1/15 TO 4/30/15

 05/08/15     159        JOHN R. AMBROSE              INVOICE 1088 DATED APRIL 28,          3731-000                            2,187.50              110,136.73
                                                      2015 / CONSULTING SERVICES
                                                      FOR 4/6/15-4/26/15

 05/18/15     160        JOHN R. AMBROSE              INVOICE NO. 1089 DATED 5/3/15         3731-000                            2,240.00              107,896.73
                                                      - CONSULTING SERVICES FOR
                                                      PERIOD 4/27/15-5/3/15

 05/18/15     161        JOHN R. AMBROSE              INVOICE NO. 1090 DATED                3731-000                            2,240.00              105,656.73
                                                      5/10/15 - CONSULTING
                                                      SERVICES FOR PERIOD 5/4/15-
                                                      5/10/15

 05/18/15     162        JOHN R. AMBROSE              INVOICE NO. 1091 DATED                3731-000                            4,620.00              101,036.73
                                                      5/17/15 FOR CONSULTING
                                                      SERVICES FOR PERIOD
                                                      5/11/15-5/17/15

 05/29/15                Rabobank, N.A.               Bank and Technology Services          2600-000                                153.81            100,882.92
                                                      Fee

 06/25/15     {3}        ALTA CONSTRUCTION, INC.      Settlement re Seror v. Alta           1121-000           9,000.00                               109,882.92

                                                                                      Page Subtotals:       $21,662.25       $25,816.01        true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                          ! - transaction has not been cleared
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Case No.:              1:13-bk-11948-MT                              Trustee Name:                    David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                       Bank Name:                       Rabobank, N.A.
Taxpayer ID #:         **-***1128                                    Account #:                       ******1466 Checking Account
For Period Ending: 02/08/2018                                        Blanket Bond (per case limit): $5,000,000.00
                                                                     Separate Bond (if applicable): N/A
    1          2                          3                                 4                              5                 6                     7

  Trans.    Check or        Paid To / Received From      Description of Transaction       Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                      Tran. Code       $                  $

                                                      Construction (Adv. case no. 15-
                                                      1025) / Complaint for A/R

 06/30/15                Rabobank, N.A.               Bank and Technology Services       2600-000                                155.20            109,727.72
                                                      Fee

 07/14/15     163        FEDERAL MAILBOX CENTER       MAILBOX #308 FOR PERIOD            2420-000                                275.00            109,452.72
                                                      6/1/2015 TO 6/1/2016

 07/14/15     164        ESTET LLC                    STATEMENT #1706 DATED              2420-000                             4,725.00             104,727.72
                                                      7/13/15 FOR INVOICES
                                                      LA002331.11, LA002331.12 AND
                                                      LA002331.13

 07/14/15     165        UNITED RECORDS               INVOICE NO. 0022482 DATED          2420-000                                452.50            104,275.22
                         MANAGEMENT                   5/31/15 / ACCOUNT NO. 3909
                                                      FOR PERIOD 5/1/15 - 5/31/15

 07/14/15     166        UNITED RECORDS               INVOICE NO. 00224784 DATED         2420-000                                452.50            103,822.72
                         MANAGEMENT                   6/30/15 / ACCOUNT NO. 3909
                                                      FOR PERIOD 6/1/15 - 6/30/15

 07/14/15     167        JOHN R. AMBROSE              INVOICE NO. 1092 DATED             3731-000                             1,382.50             102,440.22
                                                      5/24/15 RE CONSULTING SVCS
                                                      FOR PERIOD 5/18/15 - 5/24/15

 07/14/15     168        JOHN R. AMBROSE              INVOICE #1093 DATED 6/7/15         3731-000                             1,050.00             101,390.22
                                                      RE CONSULTING SVCS FOR
                                                      PERIOD 5/28/15 - 6/7/15

 07/14/15     169        JOHN R. AMBROSE              INVOICE NO. 1094 DATED             3731-000                             1,277.50             100,112.72
                                                      6/28/15 RE CONSULTING SVCS
                                                      RENDERED FOR PERIOD 6/8/15
                                                      - 6/28/15

 07/22/15     170        JOHN R. AMBROSE              INVOICE #1095 DATED JULY 20,       3731-000                             1,610.00                 98,502.72
                                                      2015 FOR CONSULTING
                                                      SERVICES RENDERED 6/29/15 -
                                                      7/19/15

 07/31/15                Rabobank, N.A.               Bank and Technology Services       2600-000                                158.72                98,344.00
                                                      Fee

 08/03/15     171        INTERNATIONAL SURETIES       BOND PREMIUM PAYMENT ON            2300-000                                 18.69                98,325.31
                         LTD                          LEDGER BALANCE AS OF
                                                      08/03/2015 FOR CASE #13-
                                                      11948

 08/07/15     172        ESTET, LLC                   INVOICE LA002331.14 DATED          2420-000                             1,575.00                 96,750.31
                                                      8/1/15 / NETWORK HARDWARD
                                                      STORAGE
                                                      Stopped on 08/21/2015

 08/10/15     {3}        SUNDT CONSTRUCTION, INC.     A/R PER STIPULATION FOR            1121-000          90,000.00                               186,750.31
                                                      COMPROMISE DATED 7 /13/15
                                                      FOR WORK PERFORMED AT
                                                      SAMOHI SCI/TECH. BLDG.

 08/21/15     172        ESTET, LLC                   INVOICE LA002331.14 DATED          2420-000                            -1,575.00             188,325.31
                                                      8/1/15 / NETWORK HARDWARD
                                                      STORAGE
                                                      Stopped: check issued on
                                                      08/07/2015

 08/21/15     173        e-STET, LLP                  INVOICE NO. LA002331.14 RE         2420-000                             1,575.00             186,750.31
                                                      HARDWARE STORAGE


                                                                                   Page Subtotals:       $90,000.00       $13,132.61        true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                        ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                   Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                      Desc
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                                                              Form 2                                                                      Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                             Trustee Name:                    David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                      Bank Name:                       Rabobank, N.A.
Taxpayer ID #:         **-***1128                                   Account #:                       ******1466 Checking Account
For Period Ending: 02/08/2018                                       Blanket Bond (per case limit): $5,000,000.00
                                                                    Separate Bond (if applicable): N/A
    1          2                          3                               4                               5                  6                     7

  Trans.    Check or        Paid To / Received From     Description of Transaction       Uniform       Deposit          Disbursement       Account Balance
   Date      Ref. #                                                                     Tran. Code       $                    $

 08/31/15                Rabobank, N.A.               Bank and Technology Services      2600-000                                 214.39            186,535.92
                                                      Fee

 09/04/15     174        e-STET, LLP                  INVOICE LA002331.15 FOR           2420-000                              1,575.00             184,960.92
                                                      SEPTEMBER HARDWARE
                                                      STORAGE
                                                      Voided on 09/11/2015

 09/11/15     174        e-STET, LLP                  INVOICE LA002331.15 FOR           2420-000                             -1,575.00             186,535.92
                                                      SEPTEMBER HARDWARE
                                                      STORAGE
                                                      Voided: check issued on
                                                      09/04/2015

 09/15/15     {3}        DOUGLAS R HUME TRUSTEE       A//R INSTALLMENT PAYMENT          1121-000               50.00                               186,585.92
                                                      FOR THE MONTH OF MARCH
                                                      2015

 09/15/15     {3}        DOUGLAS R HUME TRUSTEE       A/R INSTALLMENT PAYMENT           1121-000               50.00                               186,635.92
                                                      FOR JULY 2015

 09/15/15     {3}        DOUGLAS R HUME TRUSTEE       A/R INSTALLMENT PAYMENT           1121-000               50.00                               186,685.92
                                                      FOR APRIL 2015

 09/15/15     {3}        UNITED STATES TREASURY       A/R LITIGATION SETTLEMENT -       1121-000          18,874.81                                205,560.73
                                                      USA CORPS OF ENGINEERS /
                                                      CONTRACT W91238-09-D-0071
                                                      (A/R SETTLEMENT)

 09/15/15     {3}        DOUGLAS R HUME TRUSTEE       A/R INSTALLMENT PAYMENT           1121-000               50.00                               205,610.73
                                                      FOR JUNE 2015

 09/15/15     {3}        DOUGLAS R HUME TRUSTEE       A/R INSTALMENT PAYMENT            1121-000               50.00                               205,660.73
                                                      FOR MAY 2015

 09/15/15     {20}       TOYOTA MOTOR CORP.           CLASS ACTION SETTLEMENT -         1290-000               29.23                               205,689.96
                                                      UNINTEDED ACCELERATION
                                                      PAID TO ALLIED

 09/15/15     {3}        SELECT PORTFOLIO             A/R RE HERBERT AND MELODI         1121-000           4,520.84                                210,210.80
                         SERVICING, INC.              MOUTRA / 4570 VAN NUYS
                                                      BLVD., #308, SHERMAN OAKS,
                                                      ca

 09/15/15     {10}       RAYMOND SCHWIETERMAN         RE 620 HATFIELD, SAN DIMAS        1129-000              500.00                               210,710.80

 09/15/15     {3}        FARMERS INSURANCE            A/R/ RE CLAIMANT DIANE            1121-000           1,794.41                                212,505.21
                                                      MERRICK / CLAIM NO. ********45-
                                                      1-1

 09/18/15     {10}       RAYMOND SCHWIETERMAN         NSF Reversed Deposit 100139 1     1129-000              -500.00                              212,005.21
                                                      RE 620 HATFIELD, SAN DIMAS

 09/21/15     {3}        SELECT PORTFOLIO             NSF 100141 1 RE HERBERT           1121-000          -4,520.84                                207,484.37
                         SERVICING, INC.              AND MELODI MOUTRA / 4570
                                                      VAN NUYS BLVD., #308,
                                                      SHERMAN OAKS, ca

 09/24/15     {3}        USA CORPS OF ENGINEERS       SETTLEMENT FOR ACCOUNTS           1121-000          62,970.01                                270,454.38
                                                      RECEIVABLE

 09/24/15     {3}        DOUGLAS R HUME TRUSTEE       MONTHLY INSTALLMENT FOR           1121-000               50.00                               270,504.38
                                                      AUGUST 2015 FOR A/R OWED
                                                      TO ALLIED

 09/24/15     {3}        DOUGLAS R HUME TRUSTEE       MONTHLY INSTALLMENT FOR           1121-000               50.00                               270,554.38


                                                                                 Page Subtotals:        $84,018.46            $214.39       true

{ } Asset Reference(s)      UST Form 101-7-TDR ( 10 /1/2010)                                                        ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                         Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                      Desc
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                                                              Form 2                                                                            Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                                   Trustee Name:                   David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                            Bank Name:                      Rabobank, N.A.
Taxpayer ID #:         **-***1128                                         Account #:                      ******1466 Checking Account
For Period Ending: 02/08/2018                                             Blanket Bond (per case limit): $5,000,000.00
                                                                          Separate Bond (if applicable): N/A
    1          2                          3                                     4                               5                 6                      7

  Trans.    Check or         Paid To / Received From          Description of Transaction      Uniform       Deposit         Disbursement         Account Balance
   Date      Ref. #                                                                          Tran. Code       $                   $

                                                            SEPTEMBER 2015 FOR A/R
                                                            OWED

 09/30/15                Rabobank, N.A.                     Bank and Technology Services     2600-000                                 317.27             270,237.11
                                                            Fee

 10/09/15     175        UNITED RECORDS                     INVOICE NO. 0023713 DATED        2420-000                                 463.00             269,774.11
                         MANAGEMENT                         9/30/15 FOR ACCOUNT 3909
                                                            FOR STORAGE PERIOD 9/1/15
                                                            TO 9/30/15
                                                            Voided on 12/11/2015

 10/22/15     {18}       SCOTTSDALE INSURANCE               INSURANCE SETTLEMENT FOR         1249-000          117,296.83                                387,070.94
                         COMPANY                            ALLEGED THEFT AND
                                                            EMPLOYEE DISHONESTY

 10/23/15     {3}        Select Portfolio Servicing, Inc.   RECOVERY OF DEBT BY              1121-000            4,520.84                                391,591.78
                                                            COLLECTION AGENCY

 10/30/15                Rabobank, N.A.                     Bank and Technology Services     2600-000                                 428.92             391,162.86
                                                            Fee

 11/30/15     {3}        DOUGLAS R HUME TRUSTEE             A/R INSTALLMENT PAYMENT          1121-000               50.00                                391,212.86
                                                            FOR OCTOBER 2015.

 11/30/15     {3}        CHEROKEE INSURANCE                 FULL AND FINAL A/R               1121-000           57,500.00                                448,712.86
                         COMPANY                            SETTLEMENT RE CLAIMANT
                                                            DOROTHY BLACK (CLAIM NO.
                                                            AL97193-3)

 11/30/15                Rabobank, N.A.                     Bank and Technology Services     2600-000                                 544.51             448,168.35
                                                            Fee

 12/11/15     175        UNITED RECORDS                     INVOICE NO. 0023713 DATED        2420-000                                 -463.00            448,631.35
                         MANAGEMENT                         9/30/15 FOR ACCOUNT 3909
                                                            FOR STORAGE PERIOD 9/1/15
                                                            TO 9/30/15
                                                            Voided: check issued on
                                                            10/09/2015

 12/14/15     176        JOHN AMBROSE                       INVOICE 1096 DATED 10/4/15       3731-000                              1,242.50              447,388.85
                                                            FOR CONSULTATION
                                                            SERVICES RENDERED 7/20/15 -
                                                            10/4/15

 12/14/15     177        REGIS BOYLE JR.                    FOR OCTOBER 2015 FIELD           2420-000                                 150.00             447,238.85
                                                            SERVICES

 12/31/15                Rabobank, N.A.                     Bank and Technology Services     2600-000                                 700.89             446,537.96
                                                            Fee

 01/11/16     178        INTERNATIONAL SURETIES             BOND PREMIUM PAYMENT ON          2300-000                                 386.77             446,151.19
                         LTD                                LEDGER BALANCE AS OF
                                                            01/04/2016 FOR CASE #13-
                                                            11948

 01/29/16                Rabobank, N.A.                     Bank and Technology Services     2600-000                                 619.06             445,532.13
                                                            Fee

 02/16/16     {20}       AMERIGAS PROPANE, LP               MISC. REFUND                     1290-000               30.55                                445,562.68

 03/01/16                Rabobank, N.A.                     Bank and Technology Services     2600-000                                 617.79             444,944.89
                                                            Fee

 03/31/16                Rabobank, N.A.                     Bank and Technology Services     2600-000                                 702.15             444,242.74
                                                            Fee


                                                                                       Page Subtotals:      $179,398.22          $5,709.86        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                   Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                      Desc
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                              Trustee Name:                    David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                       Bank Name:                       Rabobank, N.A.
Taxpayer ID #:         **-***1128                                    Account #:                       ******1466 Checking Account
For Period Ending: 02/08/2018                                        Blanket Bond (per case limit): $5,000,000.00
                                                                     Separate Bond (if applicable): N/A
    1          2                          3                                4                               5                 6                     7

  Trans.    Check or        Paid To / Received From      Description of Transaction       Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                      Tran. Code       $                  $

 04/29/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                615.99            443,626.75
                                                      Fee

 05/10/16     179        UNITED RECORDS               FOR STORAGE PERIOD 7/2015 -        2420-000                             4,720.00             438,906.75
                         MANAGEMENT INC.              4/2016

 05/17/16     180        ALAN NAHMIAS                 MEDIATION FEE PER ORDER            2990-000                             2,500.00             436,406.75
                                                      ENTERED 4/18/16 [DOC. 16]

 05/31/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                611.91            435,794.84
                                                      Fee

 06/30/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                687.71            435,107.13
                                                      Fee

 07/29/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                603.32            434,503.81
                                                      Fee

 08/05/16     181        ESTET, LLC                   INVOICE LA002331.15 DATED          2420-000                             1,575.00             432,928.81
                                                      FOR SEPTEMBER 2015
                                                      NETWORK HARDWARE
                                                      STORAGE

 08/31/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                721.51            432,207.30
                                                      Fee

 09/30/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                705.98            431,501.32
                                                      Fee

 10/31/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                690.88            430,810.44
                                                      Fee

 11/30/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                761.36            430,049.08
                                                      Fee

 12/30/16                Rabobank, N.A.               Bank and Technology Services       2600-000                                712.62            429,336.46
                                                      Fee

 01/31/17                Rabobank, N.A.               Bank and Technology Services       2600-000                                760.99            428,575.47
                                                      Fee

 02/28/17                Rabobank, N.A.               Bank and Technology Services       2600-000                                664.64            427,910.83
                                                      Fee

 03/31/17                Rabobank, N.A.               Bank and Technology Services       2600-000                                734.83            427,176.00
                                                      Fees

 04/28/17                Rabobank, N.A.               Bank and Technology Services       2600-000                                662.74            426,513.26
                                                      Fees

 05/31/17     {10}       OAK POINT PARTNERS, INC      Payment in full - Remnant Asset    1129-000           9,000.00                               435,513.26
                                                      Purchase per order entered
                                                      5/23/17 [doc. 769].

 05/31/17                Rabobank, N.A.               Bank and Technology Services       2600-000                                780.03            434,733.23
                                                      Fees

 06/30/17                Rabobank, N.A.               Bank and Technology Services       2600-000                                720.51            434,012.72
                                                      Fees

 07/31/17                Rabobank, N.A.               Bank and Technology Services       2600-000                                695.91            433,316.81
                                                      Fees

 08/28/17                To Account #******1466       INTEGRATION OF FUNDS               9999-000         131,498.97                               564,815.78
                                                      PREVIOUSLY SEGREGATED
                                                      FOR PURPOSES OF BANK FEE

                                                                                   Page Subtotals:      $140,498.97       $19,925.93        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                       ! - transaction has not been cleared
              Case 1:13-bk-11948-MT                     Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                        Desc
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                                              Cash Receipts And Disbursements Record
Case No.:              1:13-bk-11948-MT                                Trustee Name:                     David Seror (008930)
Case Name:             ALLIED INDUSTRIES, INC.                         Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***1128                                      Account #:                        ******1466 Checking Account
For Period Ending: 02/08/2018                                          Blanket Bond (per case limit): $5,000,000.00
                                                                       Separate Bond (if applicable): N/A
    1          2                          3                                   4                               5                  6                     7

  Trans.    Check or        Paid To / Received From        Description of Transaction        Uniform       Deposit        Disbursement         Account Balance
   Date      Ref. #                                                                         Tran. Code       $                  $

                                                        EXEMPTION

 08/31/17                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 800.21            564,015.57
                                                        Fees

 12/15/17     182        BRUTZKUS GUBNER LLP            Distribution payment - Dividend     3120-000                             11,292.80             552,722.77
                                                        paid at 51.94% of $21,740.08;
                                                        Claim # AE; Filed: $21,740.08

 12/15/17     183        David Seror                    Distribution payment - Dividend     2100-000                             33,661.63             519,061.14
                                                        paid at 59.83% of $56,266.08;
                                                        Claim # FEE; Filed: $56,266.08

 12/15/17     184        David Seror                    Distribution payment - Dividend     2200-000                                 361.00            518,700.14
                                                        paid at 95.37% of $378.52; Claim
                                                        # TE; Filed: $378.52

 12/15/17     185        GROBSTEIN TEEPLE               Distribution payment - Dividend     3420-000                                 580.50            518,119.64
                                                        paid at 23.34% of $2,486.80;
                                                        Claim # ; Filed: $2,486.80

 12/15/17     186        GROBSTEIN TEEPLE               Distribution payment - Dividend     3410-000                             27,824.30             490,295.34
                                                        paid at 19.07% of $145,895.00;
                                                        Claim # ; Filed: $145,895.00

 12/15/17     187        BRUTZKUS GUBNER LLP            Distribution payment - Dividend     3110-000                            446,874.77                 43,420.57
                                                        paid at 73.55% of $607,612.40;
                                                        Claim # ; Filed: $607,612.40

 12/15/17     188        BANKRUPTCY COURT               Distribution payment - Dividend     2700-000                              6,016.01                 37,404.56
                                                        paid at 95.37% of $6,308.00;
                                                        Claim # ; Filed: $6,308.00

 12/15/17     189        FRANCHISE TAX BOARD            Distribution payment - Dividend     2820-000                                 999.49                36,405.07
                                                        paid at 95.37% of $1,048.00;
                                                        Claim # ; Filed: $1,048.00

 12/15/17     190        FRANCHISE TAX BOARD            Distribution payment - Dividend     2820-000                              1,180.69                 35,224.38
                                                        paid at 95.37% of $1,238.00;
                                                        Claim # ; Filed: $1,238.00

 12/15/17     191        UNITED STATES TRUSTEE          Distribution payment - Dividend     2950-000                              6,199.12                 29,025.26
                                                        paid at 95.37% of $6,500.00;
                                                        Claim # ; Filed: $6,500.00

 12/15/17     192        (CLAIM NO. 148) INDUSTRIAL     Distribution payment - Dividend     2420-000                              8,583.41                 20,441.85
                         PROPERTIES JV                  paid at 95.37% of $9,000.00;
                         (ADMINISTRATIVE)               Claim # 148; Filed: $9,000.00

 12/15/17     193        (CLAIM NO. 148-2) INDUSTRIAL   Distribution payment - Dividend     2420-000                              8,683.55                 11,758.30
                         PROPERTIES JV                  paid at 95.37% of $9,105.00;
                         (ADMINISTRATIVE)               Claim # 148 -2; Filed: $9,105.00

 12/15/17     194        (CLAIM NO. 149) INDUSTRIAL     Distribution payment - Dividend     2420-000                             10,995.33                   762.97
                         PROPERTIES JV                  paid at 95.37% of $11,528.98;
                         (ADMINISTRATIVE)               Claim # 149; Filed: $11,528.98

 12/15/17     195        FRANCHISE TAX BOARD            Distribution payment - Dividend     2820-000                                 762.97                     0.00
                                                        paid at 95.37% of $800.00; Claim
                                                        # 150-3; Filed: $800.00




                                                                                      Page Subtotals:             $0.00     $564,815.78         true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                         ! - transaction has not been cleared
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                                           Cash Receipts And Disbursements Record
Case No.:                 1:13-bk-11948-MT                             Trustee Name:                  David Seror (008930)
Case Name:                ALLIED INDUSTRIES, INC.                      Bank Name:                     Rabobank, N.A.
Taxpayer ID #:            **-***1128                                   Account #:                     ******1466 Checking Account
For Period Ending: 02/08/2018                                          Blanket Bond (per case limit): $5,000,000.00
                                                                       Separate Bond (if applicable): N/A
    1             2                    3                                     4                               5                    6                      7

  Trans.       Check or      Paid To / Received From        Description of Transaction    Uniform       Deposit             Disbursement        Account Balance
   Date         Ref. #                                                                   Tran. Code       $                       $

                                           COLUMN TOTALS                                                1,100,013.18            1,100,013.18                 $0.00
                                                 Less: Bank Transfers/CDs                                   131,498.97                  0.00
                                           Subtotal                                                         968,514.21          1,100,013.18
        true
                                                 Less: Payments to Debtors                                                              0.00

                                           NET Receipts / Disbursements                                  $968,514.21           $1,100,013.18




                                                                                                                                                 false

{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                           ! - transaction has not been cleared
                 Case 1:13-bk-11948-MT                     Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                                         Desc
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                                             Cash Receipts And Disbursements Record
Case No.:                 1:13-bk-11948-MT                               Trustee Name:                  David Seror (008930)
Case Name:                ALLIED INDUSTRIES, INC.                        Bank Name:                     Rabobank, N.A.
Taxpayer ID #:            **-***1128                                     Account #:                     ******1467 Checking Account
For Period Ending: 02/08/2018                                            Blanket Bond (per case limit): $5,000,000.00
                                                                         Separate Bond (if applicable): N/A
    1             2                      3                                     4                               5                    6                       7

  Trans.       Check or      Paid To / Received From          Description of Transaction    Uniform       Deposit             Disbursement         Account Balance
   Date         Ref. #                                                                     Tran. Code       $                       $

 06/15/16        {3}      BURNS ENVIRONMENTAL              SETTLEMENT (FIRST               1121-000            65,000.00                                        65,000.00
                          SERVICES                         PAYMENT)

 06/24/16       10101     FEDERAL MAILBOX CENTER           MAILBOX 308 - TRUSTEE FOR       2690-000                                     270.00                  64,730.00
                                                           ALLIED ENVIRONMENTAL FOR
                                                           PERIOD 6/1/16 - 6/1/17

 08/17/16        {3}      BURNS ENVIRONMENTAL              SETTLEMENT (FINAL               1121-000            60,000.00                                    124,730.00
                          SERVICES                         PAYMENT)

 09/28/16        {19}     THE HARTFORD                     INSURANCE PAYMENT FOR           1290-000             2,583.77                                    127,313.77
                                                           CLAIMAINT AGOP
                                                           TCHILINGIRIAN CLAIM NO.
                                                           23DP05485

 09/28/16        {20}     U.S. TREASURY - DEFENSE          REFUND FOR NVPC CLOSING         1290-000             4,438.10                                    131,751.87
                          FINANCE AND ACCOUNTING           FY 12 ACCOUNT.

 01/24/17       10102     INTERNATIONAL SURETIES           BOND PREMIUM PAYMENT ON         2300-000                                     252.90              131,498.97
                          LTD                              LEDGER BALANCE AS OF
                                                           01/04/2017 FOR CASE #13-
                                                           11948, TERM: 1/4/17 TO 1/4/18

 08/28/17                 To Account #******1466           INTEGRATION OF FUNDS            9999-000                                131,498.97                        0.00
                                                           PREVIOUSLY SEGREGATED
                                                           FOR PURPOSES OF BANK FEE
                                                           EXEMPTION

                                             COLUMN TOTALS                                                    132,021.87           132,021.87                       $0.00
                                                   Less: Bank Transfers/CDs                                         0.00           131,498.97
                                             Subtotal                                                         132,021.87                 522.90
        true
                                                   Less: Payments to Debtors                                                               0.00

                                             NET Receipts / Disbursements                                  $132,021.87                  $522.90




                                                                                                                                                    false

{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
             Case 1:13-bk-11948-MT                  Doc 781 Filed 02/14/18 Entered 02/14/18 14:19:33                           Desc
                                                    Main Document     Page 49 of 49
                                                     Form 2                                                                  Exhibit 9
                                                                                                                             Page: 18
                                     Cash Receipts And Disbursements Record
Case No.:         1:13-bk-11948-MT                           Trustee Name:                   David Seror (008930)
Case Name:        ALLIED INDUSTRIES, INC.                    Bank Name:                      Rabobank, N.A.
Taxpayer ID #:    **-***1128                                 Account #:                      ******1467 Checking Account
For Period Ending: 02/08/2018                                Blanket Bond (per case limit): $5,000,000.00
                                                             Separate Bond (if applicable): N/A




                                                                                                NET                     ACCOUNT
                               TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                BALANCES
                               ******1466 Checking Account                     $968,514.21       $1,100,013.18                  $0.00

                               ******1467 Checking Account                     $132,021.87                    $522.90            $0.00

                                                                             $1,100,536.08           $1,100,536.08               $0.00




UST Form 101-7-TDR (10 /1/2010)
